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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
USVALDO CONTRERA and FRANCISCO LOPEZ
individually, and on behalf of all others
similarly situated,
                                                                   CLASS ACTION COMPLAINT
                                   Plaintiffs,

IRVING LANGER, LEIBEL LEDERMAN, ARYEH
Z. GINZBERG, MEYER BRECHER, E&M BRONX
ASSOCIATES LLC a/k/a E&M ASSOCIATES and
a/k/a E&M Holdings, E&M ASSOCIATES LLC,
E&M HARLEM HOLDINGS LLC, E&M HARLEM
EQUITIES LLC, E&M LAFAYETTE PORTFOLIO
LLC, E&M LAFATEYETTE OWNER LLC,
RAINBOW ESTATES LLC, MANHATTANVILLE
HOLDINGS LLC, GALIL REALTY LLC, GALIL
MANAGEMENT LLC, E&M 116TH STREET LLC,
E&M 3600 BROADWAY LLC, E&M 48-53 LLC,
E&M ACP PORTFOLIO LLC, E&M DUNBAR
LLC, GALIL 102 CONVENT LLC, GALIL 102
CONVENT OWNER LLC, GALIL 3621 OWNER
LLC, GALIL 519 POTFOLIO LLC, GALIL 519
PORTFOLIO OWNER LLC, GALIL SULLIVAN
LLC, 102 CONVENT OWNER LLC, 105-109 WEST
113 LLC, 107 WEST 113 LLC, 1070 OGDEN LLC,
109 WEST 113 LLC, 11 WEST 172 STREET
OWNER LLC, 110 WEST 116TH LLC, 113-115
WEST 113 LLC, 115 WEST 113 LLC, 117-129
WEST 116 LLC, 120-129 WEST 112 LLC, 124
WEST 112 STREET LLC, 126 WEST 112 LLC, 131-
133 WEST 112 LLC, 133 WEST 112 STREET LLC,
133-135 WEST 116 LLC, 138 WEST 112 STREET
LLC, 141 WEST 113 LLC, 141 WEST 116 LLC,
141-143 WEST 113 LLC, 143 WEST 111 STREET
LLC, 143 WEST 113 STREET LLC, 145-153
EDGECOMBE HOLDINGS LLC, 146 WEST 111
STREET LLC, 151 WEST 228 ST OWNER LLC,
153 LENOX HOLDING LLC, 159 W 228 ST
OWNER LLC, 161-171 MORNINGSIDE LLC, 1631
GRAND AVE OWNER LLC, 164-172 WEST 141

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HOLDINGS LLC, 17-25 ST NICHOLAS LLC, 1728-
1730 AMSTERDAM AVENUE LLC, 1786
TOPPING AVE OWNER LLC, 1829-1835 7 LLC,
2006 ACP BLVD PORTFOLIO LLC, 2059 8 LLC,
2076-78 CRESTON AVE OWNER LLC, 2238
MORRIS AVE OWNER LLC, 226 W TREMONT
AVE OWNER LLC, 2291 UNIVERSITY AVE
OWNER LLC, 230 WEST 116 LLC, 2322 GRAND
AVE OWNER LLC, 239 WEST 116 LLC, 241 WEST
113 LLC, 243 WEST 116 LLC, 247-253 WEST 116
LLC, 255 WEST 116 LLC, 2755-61 SEDGWICK
AVE OWNER LLC, 2925 GRAND CONCOURSE
OWNER LLC, 2933 GRAND CONCOURSE
OWNER LLC, 2968 PERRY AVE OWNER LLC,
300 WEST 114-2107 8 LLC, 301 WEST 111-2051 8
LLC, 302 WEST 112 STREET LLC, 303 WEST 111
LLC, 303-309 WEST 113 LLC, 305 WEST 111 LLC,
305-309 WEST 113 LLC, 306-310 WEST 112 LLC,
307 WEST 113 LLC, 310 WEST 112TH STREET
LLC, 311 WEST 111 STREET LLC, 337 WEST 138
HOLDINGS LLC, 345 MANHATTAN HOLDINGS
LLC, 35 MORNINGSIDE HOLDINGS LLC, 350
WEST 115 LLC, 370-372 WEST 127 LLC, 373
WEST 126 LLC, 376 WEST 127 LLC, 41 W 184 ST
OWNER LLC, 510 WEST 146 LLC, 521-523 W 156
ST OWNERS LLC, 557-561 WEST 149 HOLDINGS
LLC, 6 MORNINGSIDE LLC, 609-619 WEST 135
STREET OWNER LLC, 610-620 WEST 141
HOLDINGS LLC, 617 WEST 143 HOLDINGS LLC,
638 WEST 160 HOLDINGS LLC, 655 WEST 160
HOLDINGS LLC, 65-67 LENOX LLC, 67 LENOX
LLC, 707 ST NICHOLAS LLC, ACP BLVD
PORTFOLIO LLC, AUDOBON 550 W 171
PORTFOLIO LLC, AVENUE W EQUITIES LLC,
DDEH 319 E 115 LLC, E&M ASSOCIATES I, LLC,
MANHATTAN           VALLEY      WEST    LLC,
NEIGHBORHOOD                   STABILIZATION
ASSOCIATES       I,    L.P.,  NEIGHBORHOOD
STABILIZATION ASSOCIATES II. L.P., NSA
ASSOCIATES      I,    NSA    ASSOCIATES    II,
SARASOTA GOLD LLC, SIXTH AVENUE I
ASSOCIATES, SIXTH AVENUE REHAB I
ASSOCIATES,      SUNSET      PARK   HOUSING
ASSOCIATES, SUNSET PARK NSA I, SUNSET
PARK N S A II, SUNSET PARK NSA 11, SUNSET
PARK NSA 2, SUNSET PARK NSA II, 260
ELIZABETH STREET LLC, 262 ELIZABETH
PORTFOLIO LLC, 264 ELIZABETH STREET
PORTFOLIO LLC, 266 ELIZABETH STREET
PORTFOLIO LLC, 268 ELIZABETH STREET

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PORTFOLIO LLC, 11-15 BROADWAY OWNER
LLC, 30-50 21ST STREET OWNER LLC, 271 E 197
ST OWNER LLC, 750-760 PELHAM PKWY
OWNER LLC, 124 E 177 ST OWNER LLC, 3472
KNOX PLACE OWNER LLC, 2320 AQUEDUCT
AVE OWNER LLC, 1160 CROMWELL AVE
OWNER LLC, 3940 BRONX BLVD OWNER LLC,
1881 GRAND CONCOURSE REALTY LLC, 3136
PERRY AVE OWNER LLC, 155 W 162 STREET
LLC, 1014 GERARD AVE OWNER LLC, 1475
SHERIDAN AVE OWNER LLC, 320 E 197 ST
OWNER LLC, 131 W KINGSBRIDGE OWNER
LLC, 2701 WEBB AVE OWNER LLC, 751
GERARD AVE OWNER LLC, 2055 ANTHONY
AVE OWNER LLC, 975 WALTON AVE OWNER
LLC, 1212 GRAND CONCOURSE OWNER LLC,
1530 SHERIDAN AVE OWNER LLC, 323 E
MOSHOLU PKWY OWNER LLC, 161-165 E 179
ST OWNER LLC, 2215 PROPERTIES LLC, DDEH
103 E 102 LLC, DDEH 112 E 103 LLC, DDEH 102 E
103 LLC, DDEH 122 E 103ST LLC, DDEH 124 E117
LLC, DDEH 126 E 103ST LLC, 124 E. 117 LLC,
DDEH 137 E. 110 LLC, DDEH 154 E. 106 LLC,
DDEH 1567 LEXINGTON LLC, DDEH 238 E 111
LLC, DDEH 215 E 117 LLC, DDEH 2156 SECOND
LLC, DDEH 216 E 118 LLC, DDEH 2171 THIRD
LLC, DDEH 291 PLEASANT LLC, DDEH 231 E
117 LLC, DDEH 233 E 111 STREET LLC, DDEH
234 E 116ST LLC, DDEH 235 E 111ST LLC, DDEH
234 E116 LLC, DDEH 2371 SECOND LLC, DDEH
244 E 117 LLC, DDEH 311 E. 109 LLC, DDEH 312
E 106 LLC, DDEH 411 E 114 LLC, DDEH 411
E118LLC, DDEH 417E 114ST LLC, DDEH 421
EAST 114TH ST LLC, 131 -133 WEST 112 STREET
LLC, 124 WEST 112 STREET LLC, 117 WEST 141
LLC, 127 WEST 141 LLC, 137 WEST 141 LLC, and
3030 VALENTINE AVE OWNER LLC.


                                     Defendants.
---------------------------------------------------------------X

        Representative Plaintiffs USVALDO CONTRERA (“Contrera”) and FRANCISCO

LOPEZ (“Lopez”) (collectively, the “Representative Plaintiffs”), individually and on behalf of

all others similarly situated, as class representatives, upon personal knowledge as to themselves




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and upon information and belief as to other matters, by their attorneys, RAPAPORT LAW

FIRM, PLLC, as and for their Complaint, allege:

                                PRELIMINARY STATEMENT

       1.      Through an intentional pattern and practice of denying building superintendents

the compensation to which they were entitled, in order to minimize their labor costs, Defendants

have successfully purchased building after building with the wages that they have illegally

denied their superintendents. This lawsuit seeks to recover those wages: minimum wages,

overtime compensation, and unlawful wage deductions.

       2.      The Representative Plaintiffs bring this action on behalf of themselves and all

other persons similarly situated (hereinafter referred to as the “Class Members,” the “Plaintiff

Classes” and/or, more specifically, the “FLSA Class” and/or the “New York Class”) who are,

and/or who have been, employed by the Defendants as superintendents and porters (hereinafter

collectively referred to as the “Superintendents”) at approximately 262 apartment buildings (the

“Buildings”) throughout New York City that were owned and controlled by the Defendants as a

unified enterprise within the applicable statutory periods.

       3.      This is a class/collective action, seeking unpaid wages, including minimum wage

and unpaid overtime compensation and interest thereon, reimbursement for unlawful deductions,

liquidated damages and other penalties, injunctive and other equitable relief and reasonable

attorneys’ fees and costs, under, inter alia, the Fair Labor Standards Act (“FLSA”) §§ 6 and 7,

29 U.S.C. §§ 206 and 207. This action also seeks compensatory damages and injunctive relief for

retaliation in violation of FLSA § 15, 29 U.S.C. § 215.

       4.      This action further invokes diversity jurisdiction and the supplemental jurisdiction

of this Court to consider claims arising under New York Labor Law (“NYLL”) (e.g., New York

Wage Payment Act; NY Labor Law §§ 191, 193, and 195; 12 N.Y.C.R.R. Part 141-1.9 and 2.10,

and Part 142; and NY Labor Law § 215).


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       5.      Throughout the Plaintiffs’ employment, as described below, Defendants required

Plaintiffs to work, and Plaintiffs did in fact work, an average of 80 hours per week and to be on-

call at all hours of the day and night. Defendants, however, completely failed to pay Plaintiffs

for any hours that they worked in excess of forty each week at any rate of pay, let alone at the

minimum wage rate of pay or their overtime rates of pay. Additionally, Defendants failed to

provide Plaintiffs with proper, accurate wage statements on each payday or with proper wage

notices as the NYLL requires.

       6.      At all relevant times, Defendants were and still are a centrally managed real estate

enterprise (hereinafter the “E&M Enterprise”) that was founded by Irving Langer (“Langer”) in

or about 1979, and that, upon information and belief, owned, controlled, and managed (and it

continues to own, control, and manage) more than 3,000 rental apartment units located in

multiple family apartment buildings situated primarily in lower-income neighborhoods in the

Bronx, Brooklyn, Queens, and Upper Manhattan.

       7.      At all relevant times, the E&M Enterprise had a principal place of business at

1465A Flatbush Ave, Brooklyn, NY 11210 (hereinafter the “Flatbush Office”), from which it

owned, operated and managed approximately 262 buildings under the same policies regarding

the payment of wages to building maintenance employees. In addition, the E&M Enterprise

maintained a management office, which handled day-to-day rental, financial and tenant issues, at

975 Walton Avenue, Bronx, NY 10452 (the “Walton Avenue Office”).

       8.      From its Flatbush Office, the E&M Enterprise controls hundreds of apartment

buildings through its wholly-owned and/or controlled entities, including, inter alia, E&M Bronx

Associates (hereinafter “E&M Bronx”), E&M Associates, Galil Management LLC and Galil

Realty LLC (Galil Management and Galil Realty are interchangeably referred to herein as

“Galil”). Title to each of the E&M Enterprise’s Buildings is held in the name of a limited




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liability company (collectively, the “Title-Holding Entities”), each of which is also owned and/or

controlled by the E&M Enterprise and is a component of the E&M Enterprise.

       9.      Certain of the E&M Enterprise’s management functions – particularly involving

management of the E&M Enterprise’s apartment buildings in and around Bronx County – were

also carried out from the Walton Avenue Office.

       10.     At all relevant times, individual defendants Langer, Leibel Lederman

(“Lederman”), Aryeh Ginzberg (“Ginzberg”) and Meyer Brecher (“Brecher”) ran the E&M

Enterprise. The individual defendants carried out their unified policies and management of the

E&M Enterprise through a hierarchy consisting of limited liability companies, each of which is

owned and controlled by the enterprise. This hierarchy includes:

       (a) Entities that the individual defendants use as vehicles for multi-million dollar
           transactions to acquire and sell blocks of buildings (“Investment Entities”);

       (b) Management companies, including E&M Bronx, E&M Associates, and Galil, which
           manage the buildings (“Management Entities”) (in their legal filings with the City
           and State of New York, these entities identify either the Flatbush Office or the
           Walton Avenue Office as their principal places of business); and

       (c) The Title-Holding Entities.

       11.     The Investment Entities, Management Entities, and Title-Holding Entities

constitute a centrally controlled and managed real estate enterprise that is owned and operated by

the individual defendants.

       12.     By operating as a unified enterprise, the E&M Enterprise achieves benefits, such

as cross-collateralization of the Buildings to generate capital and thereby further expand the size,

scope and capital of the enterprise. Langer describes this deeply-intertwined ownership structure

as a “real estate syndication business.” By operating in a unified manner, the E&M Enterprise is

able to obtain funding based on aggregating groups of buildings as collateral.

       13.     The E&M Enterprise has applied the same employment practices, policies and

procedures to Superintendents of the Buildings, including, inter alia, the E&M Enterprise’s


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practice, policy and procedure of failing to compensate Superintendents for hours worked

beyond 40 per workweek.

       14.     Upon information and belief, the E&M Enterprise employed at least two hundred

sixty-five (265) individuals who have claims that involve identical legal issues and virtually

identical facts as the Representative Plaintiffs. The Buildings that are currently known to be

managed, owned, and/or controlled by the E&M Enterprise during the periods of time within the

FLSA Class period and New York Class period are listed in Schedule A hereto.

       15.     The FLSA Class period is designated as the time from May 20, 2013 through the

trial date, based upon the allegation that the violations of the FLSA, as described more fully

below, have been willful and ongoing since at least the foregoing dates.

       16.     The New York Class period is designated as the time from May 20, 2010 through

the trial date, based upon the allegation that the violations of New York’s wage and hour laws, as

described more fully below, have been ongoing since that time.

       17.     During the FLSA Class period, the E&M Enterprise had unlawful policies of

encouraging and/or requiring the superintendents and porters of the Buildings, including

Representative Plaintiffs and members of the FLSA Class, to work in excess of forty (40) hours

per week, at rates of pay substantially and unconscionably below minimum wage, and without

paying them overtime compensation as required by the FLSA.

       18.     Although the Superintendents were required to remain on call at their respective

Buildings from early morning through late at night and to perform tasks such as snow removal

and fixing leaking pipes, regardless of the time of day or night, and/or day of the week when

such work was needed, the Superintendents were paid fixed sums (typically far below federal

minimum wage), and they were not paid overtime compensation despite working substantially

more than 40 hours per workweek in violation of the FLSA.




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           19.     Furthermore, during the New York Class period, the E&M Enterprise had an

unlawful policy and practice of requiring unlawful deductions from wages, including:

           (a) Defendants unlawfully required Superintendents and Porters to pay for tools used
               solely for the benefit of the Defendants, in violation of Section 141-1.9 of the Rules
               promulgated by the New York State Department of Labor for the building service
               industry. 12 N.Y.C.R.R. § 141-1.9.

           (b) Defendants unlawfully required Superintendents to pay for replacement workers to
               perform their jobs as a condition for taking time off for vacation.

           (c) Defendants unlawfully required Superintendents to pay for all and/or a substantial
               portion of work-related transportation expenses in violation of Section 141-2.10 of
               regulations promulgated by the New York State Department of Labor for the building
               service industry. 12 N.Y.C.R.R. § 2.10(a).

           20.     In addition, during the New York Class Period, the E&M Enterprise had an

unlawful policy and practice of noncompliance with NYLL §195(3) by failing to issue wage

statements to employees that correctly identified the name of the employer; address of employer;

rates of pay or basis thereof; regular hourly rate; and number of overtime hours worked.

Defendants had a pattern, policy and practice of violating NYLL §195(3) by issuing pay

statements that contained none of the foregoing information and, instead, merely set forth the

name (without any contact or other information) of an entity (StaffPro, Inc.) that was not an

employer.        Contrera, Lopez and putative members of the New York Class are entitled to

statutory damages for the foregoing violations, including Two Hundred Fifty ($250.00) Dollars

per work day that the violations occurred up to Five Thousand ($5,000.00) Dollars, together with

costs and reasonable attorney’s fees. As set forth below, this Complaint also seeks a judicial

declaration that the E&M Enterprise violated the wage statements requirements of NYLL

§195(3) and an injunction requiring the E&M Enterprise to comply with the mandates of the

statute.

           21.     In addition, during the New York Class Period, the E&M Enterprise had an

unlawful policy and practice of failing to comply with NYLL §195(1) by failing to provide to

employees, upon hiring, a written notice in English and the employee’s primary language setting

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forth the employee’s rates of pay and basis thereof; the name of the employer; physical address

of the employer’s business; names used by the employer; and other legally-mandated

disclosures. The E&M Enterprise willful violations of these legal requirements were particularly

egregious and prejudicial because the paychecks issued by the E&M Enterprise also failed to

disclose the name of the employer, and given the myriad interwoven web of entities under which

the E&M Enterprise conducts business, there was no reliable way for any of the New York Class

Members to identify, with any degree of certainty, the particular E&M Enterprise constituent

entity that was issuing their pay and/or legally had the status of employer. In fact, as alleged

below, the E&M Enterprise, and its hundreds of constituent limited liability companies,

functioned as a single, unified business.

       22.      Contrera, Lopez and the putative members of the New York Class are each

entitled to damages for the E&M Enterprise’s violation of NYLL §195(1), including: (a) for the

time period commencing six years before the filing of this Complaint, through February 27,

2015, the sum $50 per work week, up to $2,500; and (b) from February 27, 2015 through the

resolution of this case, $50.00 per work day, up to $5,000.00. Plaintiffs also seek injunctive and

declaratory relief and costs and attorney’s fees.

       23.     The Superintendents and Porters, who were (and are) largely non-English

speaking immigrants with little or no familiarity with the American legal system, were

compelled by the E&M Enterprise to endure such deductions as a condition of their employment.

       24.     Defendants’ unlawful policies, patterns, and practices have been willful.

                                 JURISDICTION AND VENUE

       25.     Subject matter jurisdiction exists pursuant to 28 U.S.C. §§ 1331 and 1137 because

this case arises under the Fair Labor Standards Act, 29 U.S.C. § 201 et seq. The Court has

supplemental jurisdiction over the New York State law claims pursuant to 28 U.S.C. §1367.




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       26.     Venue is appropriate in this district pursuant to 28 U.S.C. §1391 because

Defendants transact business and have agents in the Southern District and this is the judicial

district in which the events giving rise to the claims occurred. Defendants have facilities and

employ Class Members in this district, including, inter alia, Defendants’ employment of

superintendents at hundreds of apartment buildings in Manhattan and the Bronx.

       27.     This Court has personal jurisdiction over the Defendants pursuant to New York

Civil Practice Law and Rules § 301 in that, inter alia, Defendants reside and/or transact business

within this State, employed Plaintiffs within the State of New York, and otherwise engaged in

conduct that allows for the exercise of jurisdiction as permitted by the Constitution of the United

States and the laws of the State of New York, and accordingly may be served with process

pursuant to Fed. R. Civ. P. 4(h)(1).

                                       THE PARTIES

Plaintiffs

       Usvaldo Contrera

       28.     Usvaldo Contrera is an adult, natural person who resides in the City of New York,

County of Bronx, and State of New York.

       29.     Contrera worked as superintendent at 655 West 160th Street, New York, NY

10032 (“655 West 160th”) from in or about 2005 through on or about July 1, 2015.

       30.     On or about November 14, 2013, the E&M Enterprise became Contrera’s

employer when it acquired ownership and control of approximately 78 buildings in Upper

Manhattan, including 655 West 160th.

       31.     The E&M Enterprise continued to be Contrera’s employer until on or about July

1, 2015, when Contrera’s employment was terminated.

       32.     Contrera was required, as a condition of his employment, to remain on-call at 655

West 160th at virtually all times, and his work week would typically exceed 80 hours.


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       33.     As set forth in more detail below, Contrera was repeatedly and pervasively paid

substandard wages insofar as he was: (a) denied full pay for all hours worked; (b) denied

overtime compensation despite working substantially more than 40 hours per workweek; and (c)

subjected to unlawful wage deductions, including being required to pay for work-related

expenses out of his own wages without reimbursement.

       34.    The E&M Enterprise unlawfully paid Contrera a fixed sum of $400.00 per week

without any compensation for overtime. In light of the hours that Contrera worked each week,

his pay was substantially below minimum wage.

       35.    Contrera is a covered employee within the meaning of the FLSA and NYLL.

       Francisco Lopez

       36.    Francisco Lopez is an adult individual who is a resident of the City, County, and

State of New York.

       37.    Lopez worked as superintendent at the E&M Enterprise’s Building, 638 West

160th Street, New York, NY 10032 (“638 West 160th”), from in or about March 1995, through on

or about April 30, 2014.

       38.    On or about November 14, 2013, the E&M Enterprise became Lopez’ employer

when it acquired ownership of 638 West 160th.

       39.    The E&M Enterprise continued to be Lopez’ employer until on or about April 30,

2014, when Lopez’ employment was terminated.

       40.    As a condition of Lopez’ employment, he was required to remain on-call at 638

West 160th at all hours of the day and night, and his work week would exceed 80 hours.

       41.    As alleged in further detail below, Lopez was pervasively paid substandard wages

insofar as he was: (a) denied full pay for all hours worked; (b) not paid overtime compensation

despite working substantially more than 40 hours per workweek in violation of the FLSA; and

(c) subjected to unlawful wage deductions by virtue of his having to pay work-related expenses


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out of his own wages, including expenses for tools, work-related transportation, and the cost of

having a substitute worker fill in for him when he took time off for vacations.

       42.     Despite Lopez’s arduous work requiring his presence at the building seven days

per week, he was paid a fixed sum of $275.00 per week, which was substantially below

minimum wage. While he was employed by the E&M Enterprise, his weekly net pay was

$238.83 – an amount that is significantly below what is needed to subsist in New York City.

       43.      Lopez received no compensation at all for the substantial overtime that was

required of him.

       44.     Lopez is a covered employee within the meaning of the FLSA and NYLL.

Defendants

       Irving Langer

       45.     Langer is an individual who, upon information and belief, resides in Lawrence,

Nassau County, New York.

       46.     Upon information and belief, Langer maintains a principal place of business at the

Flatbush Office.

       47.     Upon information and belief, at all relevant times, Langer was (and continues to

be) the most senior executive in multiple entities that comprise the E&M Enterprise and through

which the E&M Enterprise invests in, owns and controls the Buildings.

       48.     During the time periods relevant to the allegations in this Complaint, Langer has

served as managing member and/or senior executive of E&M Associates LLC; E&M Bronx

Associates; Rainbow Estates Group; LIA MM LLC; Zaidys Manhattanville LLC; AZGII

Manhattanville LLC; and Galil.

       49.     Langer has touted the large scale of the real estate enterprise that he has created

and controls. On the website for “Gulliver’s Gate,” of which Langer is Chairman of the Board,

Langer’s biography states, in relevant part:


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       He has built up a vast real estate portfolio owning and managing 25,000
       apartments in the New York City area and beyond comprising over 10 Million
       square feet.

(http://gulliversgate.com/about-us/ (accessed on May 17, 2016)).

       50.    According to E&M Associates’ website, “E&M Associates is a privately-held,

vertically-integrated real estate company that acquires, owns and manages over 3000 apartments

in the New York metropolitan area.” http://emmgmt.com/ (accessed on May 18, 2016).

       51.    Langer exercised sufficient control over the E&M Enterprise to be considered the

Plaintiffs’ employer under the FLSA and NYLL. Additionally, upon information and belief,

Langer is liable for the wages of Plaintiffs and those similarly situated under New York Business

Corporation Law § 630 and New York Limited Liability Company Law § 609(c).

       Leibel Lederman

       52.    Lederman is an individual who, upon information and belief, resides in Brooklyn,

New York, and he has a business address at the Flatbush Office.

       53.    Upon information and belief, Lederman is a Partner of E&M Associates.

       54.    Upon information and belief, Lederman is a Founder, Partner, and/or Member of

Rainbow Estates Group.

       55.    Upon information and belief, Lederman is part of the “Leadership Team” of E&M

Associates.

       56.    Upon information and belief, Lederman was (and still is) Managing Member

and/or Executive Officer of entities comprising the E&M Enterprise during the Class Periods.

       57.    Upon information and belief, in addition to Lederman’s role as Partner and

Manager of E&M Associates, Lederman also has a personal ownership interest in the E&M

Enterprise’s Buildings, including, but not limited to, the two buildings where the Representative

Plaintiffs were employed as superintendents.




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        58.    Upon information and belief, as a member of E&M Associates’ “Leadership

Team,” Lederman had (and continues to have) managerial and operational control over the E&M

Enterprise’s financial affairs and personnel policies, including, but not limited to, matters and

policies pertaining to compensation of the E&M Enterprise’s employees and overtime policies.

        59.    Upon information and belief, Lederman served as authorized signatory of legal

documents by which the E&M Enterprise effectuated transactions and legal transfers and

encumbrances, including but not limited to loan and cross-collateralization documents.

        60.    Lederman exercised sufficient control over the E&M Enterprise’s operations to be

considered Plaintiffs’ employer under the FLSA and NYLL. Additionally, upon information and

belief, Lederman is liable for the wages of Plaintiffs and those similarly situated under New

York Business Corporation Law § 630 and New York Limited Liability Company Law § 609(c).

        Aryeh Z. Ginzberg

        61.    Upon information and belief, Ginzberg is an individual who resides in Cedarhurst,

Nassau County, New York.

        62.    Upon information and belief, Ginzberg is part of the “Leadership Team” of E&M

Associates, and in such capacity, he makes decisions and sets policies regarding financial

matters, including, inter alia, the E&M Enterprise’s wage policies relating to building

superintendents.

        63.    Upon information and belief, Ginzberg is Managing Member and/or Member of

entities that hold title to Buildings and/or entities that are the sole members of the Title-Holding

Entities.

        64.    Upon information and belief, Ginzberg’s executive positions include his role as

Managing Member of AZG Manhattanville LLC and Member of LIA MM LLC, which, upon

information and belief, are entities by which the E&M Enterprise owns and controls buildings in

Upper Manhattan.


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       65.     At all relevant times, Ginzberg was a member of Galil.

       66.     At all relevant times, Ginzberg was Senior Vice President of E&M Associates.

       67.     At all relevant times, Ginzberg exercised managerial functions for the E&M

Enterprise from the Flatbush Office and/or the Walton Avenue Office.

       68.     Upon information and belief, Ginzberg has personal direct and/or indirect

ownership interest in at least 30 limited liability companies that are controlled by the E&M

Enterprise and exercises operational control over those entities and with respect to the E&M

Enterprise as a whole.

       69.     Ginzberg exercised sufficient control over the E&M Enterprise’s operations to be

considered Plaintiffs’ employer under the FLSA and NYLL. Additionally, upon information and

belief, Ginzberg is liable for the wages of Plaintiffs and those similarly situated under New York

Business Corporation Law § 630 and New York Limited Liability Company Law § 609(c).

       Meyer Brecher

       70.     Upon information and belief, Meyer Brecher (“Brecher”) is an individual who

resides in Lawrence, Nassau County, New York.

       71.     Upon information and belief, Brecher is a member of the E&M Enterprise’s

“Leadership Team” and holds the position of Director of Property Management Services.

       72.     Upon information and belief, Brecher oversees the day-to-day operations of the

Buildings, including, but not limited to, implementation of the E&M Enterprise’s unlawful

policy and practice of denying superintendents overtime and minimum wages and requiring

superintendents to pay for work-related expenses from their own paychecks without

reimbursement.

       73.     Brecher exercised sufficient control over the E&M Enterprise’s operations to be

considered Plaintiffs’ employer under the FLSA and NYLL. Additionally, upon information and




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belief, Brecher is liable for the wages of Plaintiffs and those similarly situated under New York

Business Corporation Law § 630 and New York Limited Liability Company Law § 609(c).


The Defendant LLCs and Partnerships that are under the Common Control of the E&M
Enterprise

       74.     The individual defendants – Langer, Lederman, Ginzberg and Brecher – exercise

unified ownership, management and control over the Investment Entities, Management Entities,

and Title-Holding Entities (collectively referred herein as the “Corporate Defendants”), which

jointly comprise the E&M Enterprise, which, in turn, are operated for the common purpose of

acquiring and maximizing cash flow, operating income, and value from the Buildings.

       75.     The Corporate Defendants are vertically integrated. Collectively, the Corporate

Defendants constitute what the individual defendants refer to as a “real estate syndicate” that

functions as a single enterprise with unified management and personnel policies.

       76.     Defendant E&M Bronx Associates LLC a/k/a/ E& M Associates and a/k/a E&M

Holdings (“E&M Bronx”) was and still is a limited liability company organized and existing

pursuant to the laws of the State of New York. At all relevant times, E&M Bronx conducted

business at the Flatbush Office.

       77.     E&M Bronx was established by (and continues to be controlled by) the E&M

Enterprise to serve as managing agent for the Buildings, including the buildings where Lopez

and Contrera worked.

       78.     Defendant E&M Associates LLC (“E&M Associates”) was and still is a limited

liability company organized and existing pursuant to the laws of the State of New York.

       79.     Upon information and belief, Defendants have used the names E&M Associates,

E&M Bronx, and Galil interchangeably to refer to the E&M Enterprise. In addition, E&M

Associates, E&M Bronx and Galil also serve as the E&M Enterprise’s officially-designated




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managing agents for the Buildings, as reflected in the E&M Enterprise’s filings with the New

York State Division of Housing and Community Renewal (DHCR).

       80.     Upon information and belief, defendants E&M Harlem Holdings LLC, E&M

Harlem Equities LLC, E&M Lafayette Portfolio LLC, E&M Lafayette Owner LLC, Rainbow

Estates LLC, Manhattanville Holdings LLC, Galil Realty LLC and Galil Management LLC are

limited liability companies organized and existing pursuant to the laws of the State of New York,

each having a principal place of business at the Flatbush Office.         These entities perform

investment and managerial functions for the E&M Enterprise. They operate under common

ownership, share employees, are managed by the same individuals, subject their employees to

the same policies and procedures relating to wage violations alleged in this Complaint, and their

operations are interrelated and unified.

       81.     Annexed hereto as Schedule A is a chart setting forth, inter alia: (a) the addresses

of approximately 262 buildings that are jointly owned, managed and controlled by the E&M

Enterprise; (b) the Title-Holding Entity for each building; and (c) the officially-designated

Managing agent for each building. All of the Buildings and entities set forth in Schedule A

were, at relevant times, operated and controlled by the E&M Enterprise.

       Title-Holding Entities:

       82.      Upon information and belief, defendant 102 Convent Owner LLC is a limited

liability company organized and existing under the laws of the State of New York that the E&M

Enterprise established and controlled to function as Title-Holding Entity of 102-104 Convent

Ave., New York, NY.

       83.      Upon information and belief, defendant 105-109 West 113 LLC is a limited

liability company organized and existing under the laws of the State of New York that the E&M

Enterprise established as Title-Holding Entity of 105 West 113th Street, New York, NY.




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       84.     Upon information and belief, 107 West 113 LLC is a limited liability company

organized and existing under the laws of the State of New York that the E&M Enterprise

established as Title-Holding Entity of 107 West 113th St., New York, NY.

       85.     Upon information and belief, defendant 1070 Ogden LLC is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established as Title-Holding Entity of 1070 Ogden Avenue, Bronx, NY.

       86.     Upon information and belief, defendant 109 West 113 LLC is a limited liability

company organized and existing under the laws of the State of New York that the E&M

Enterprise established as Title-Holding Entity of 109 West 113th Street, New York, NY.

       87.     Upon information and belief, defendant 11 West 172 Street Owner LLC is a

limited liability company organized and existing pursuant to the laws of the State of New York

that the E&M Enterprise established, controlled and operated to serve as Title-Holding Entity of

11 West 172nd Street, Bronx, NY.

       88.     Upon information and belief, 110 West 116th LLC is a limited liability company

organized and existing under the laws of the State of New York that the E&M Enterprise

established to function as Title-Holding Entity of 110 West 116th St., New York, NY.

       89.     Upon information and belief, defendant 113-115 West 113 LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 113 West 113th Street, New York, NY.

       90.     Upon information and belief, defendant 115 West 113 LLC is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment building located at 115 West 113th Street, New York, NY.




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       91.     Upon information and belief, defendant 117-129 West 116 LLC is a limited

liability company organized and existing under the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment buildings located at 117, 125 and 129 West 116th St., New York, NY.

       92.     Upon information and belief, defendant 120-129 West 112 LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 120 West 112th Street, New York, NY.

       93.     Upon information and belief, defendant 124 West 112 Street LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 124 West 112th Street, New York, NY.

       94.     Upon information and belief, defendant 126 West 112 LLC is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment building located at 126 West 112th Street, New York, NY.

       95.     Upon information and belief, defendant 131-133 West 112 LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment buildings at 131 and 133 West 112th Street, New York, NY.

       96.     Upon information and belief, defendant 133-135 West 116 LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment buildings at 133 and 135 West 116th St., New York, NY.




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       97.     Upon information and belief, defendant 138 West 112 Street LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 138 West 112th Street, New York, NY.

       98.     Upon information and belief, defendant 141 West 113 LLC is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment building located at 141 West 113th Street, New York, NY.

       99.     Upon information and belief, defendant 141 West 116 LLC is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment building located at 141 West 116th Street, New York, NY.

       100.    Upon information and belief, Defendant 141-143 West 113 LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 110 West 116th Street, New York, NY.

       101.    Upon information and belief, Defendant 17-25 St Nicholas LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building at 17 Saint Nicholas Avenue, New York, NY.

       102.    Upon information and belief, Defendant 143 West 113 Street LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 143 West 113th Street, New York, NY.




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       103.   Upon information and belief, defendant 145-153 Edgecombe Holdings LLC

is a limited liability company organized and existing pursuant to the laws of the State of New

York that the E&M Enterprise established, owned, and controlled at all relevant times for the

purpose of holding legal title to the apartment building located at 149 and 153 Edgecombe

Avenue, New York, NY.

       104.   Upon information and belief, defendant 146 West 111 Street LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 146 West 111th Street, New York, NY.

       105.   Upon information and belief, defendant 151 West 228 St Owner LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 151 West 228th Street, New York, NY.

       106.   Upon information and belief, defendant 153 Lenox Holding LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment buildings at 153 and 157 Lenox Avenue, New York, NY.

       107.   Upon information and belief, defendant 159 W 228 St Owner LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 159 West 228th Street, New York, NY.

       108.   Upon information and belief, defendant 161-171 Morningside LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 161 Morningside Ave., New York, NY.


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       109.    Upon information and belief, defendant 1631 Grand Ave Owner LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 1631 Grand Ave, Bronx, NY.

       110.    Upon information and belief, defendant 164-172 West 141 Holdings LLC is a

limited liability company organized and existing under the laws of the State of New York that

the E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 164 West 141st St., New York, NY.

       111.    Upon information and belief, defendant 1728-1730 Amsterdam Ave LLC is a

limited liability company organized and existing under the laws of the State of New York that

the E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment buildings at 1728 and 1730 Amsterdam Ave., New York, NY.

       112.    Upon information and belief, defendant 1786 Topping Ave Owner LLC is a

limited liability company organized and existing pursuant to the laws of the State of New York

that the E&M Enterprise established, owned, and controlled at all relevant times for the purpose

of holding legal title to the apartment building located at 1786 Topping Avenue, Bronx, NY.

       113.    Upon information and belief, defendant 1829-1835 7 LLC is a limited liability

company organized and existing under the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment building at 1829 Adam Clayton Powell Jr. Blvd, New York, NY.

       114.    Upon information and belief, defendant 2006 ACP Blvd Portfolio LLC is a

limited liability company organized and existing under the laws of the State of New York that

the E&M Enterprise established and controlled at all relevant times for the purpose of holding

legal title to the apartment building at 2006 Adam Clayton Powell Jr. Blvd., New York, NY.




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       115.    Upon information and belief, defendant 2059 8 LLC is a limited liability company

organized and existing pursuant to the laws of the State of New York that the E&M Enterprise

established, owned, and controlled at all relevant times for the purpose of holding legal title to

the apartment building located at 2059 Frederick Douglass Boulevard, New York, NY.

       116.    Upon information and belief, defendant 2076-78 Creston Ave Owner LLC is a

limited liability company organized and existing pursuant to the laws of the State of New York

that the E&M Enterprise established, owned, and controlled at all relevant times for the purpose

of holding legal title to the apartment building located at 2076 Creston Avenue, Bronx, NY.

       117.    Upon information and belief, defendant 2238 Morris Ave Owner LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 2238 Morris Avenue, Bronx, NY.

       118.    Upon information and belief, defendant 226 W Tremont Ave Owner LLC is a

limited liability company organized and existing under the laws of the State of New York that

the E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 226 West Tremont Avenue, Bronx, NY.

       119.    Upon information and belief, defendant 2291 University Ave Owner LLC is a

limited liability company organized and existing pursuant to the laws of the State of New York

that the E&M Enterprise established, owned, and controlled at all relevant times for the purpose

of holding legal title to the apartment building located at 2291 University Avenue, Bronx, NY.

       120.    Upon information and belief, defendant 230 West 116 LLC is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment building located at 230 West 116th Street, New York, NY.




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       121.    Upon information and belief, defendant 2322 Grand Ave Owner LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 2322 Grand Avenue, Bronx, NY.

       122.    Upon information and belief, defendant 239 West 116 LLC is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment building located at 239 West 116th Street, New York, NY.

       123.    Upon information and belief, defendant 241 West 113 LLC is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment building located at 243 West 113th Street, New York, NY.

       124.    Upon information and belief, defendant 243 West 116 LLC is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment building located at 243 West 116th Street, New York, NY.

       125.    Upon information and belief, defendant 247-253 West 116 LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 247 West 116th Street, New York, NY.

       126.    Upon information and belief, defendant 255 West 116 LLC is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment building located at 259 West 116th Street, New York, NY.




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       127.   Upon information and belief, defendant 2755-61 Sedgwick Ave Owner LLC is a

limited liability company organized and existing pursuant to the laws of the State of New York

that the E&M Enterprise established, owned, and controlled at all relevant times for the purpose

of holding legal title to the apartment buildings at 2755 and 2763 Sedgwick Avenue, Bronx, NY.

       128.   Upon information and belief, defendant 2925 Grand Concourse Owner LLC is a

limited liability company organized and existing pursuant to the laws of the State of New York

that the E&M Enterprise established, owned, and controlled at all relevant times for the purpose

of holding legal title to the apartment building located at 2925 Grand Concourse, Bronx, NY.

       129.   Upon information and belief, defendant 2933 Grand Concourse Owner LLC is a

limited liability company organized and existing pursuant to the laws of the State of New York

that the E&M Enterprise established, owned, and controlled at all relevant times for the purpose

of holding legal title to the apartment building located at 2933 Grand Concourse, Bronx, NY.

       130.   Upon information and belief, defendant 2968 Perry Ave Owner LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building at 2968 Perry Avenue, Bronx, NY.

       131.   Upon information and belief, defendant 300 West 114-2107 8 LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building at 2107 Frederick Douglass Blvd, New York, NY.

       132.   Upon information and belief, Defendant 301 West 111-2051 8 LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established and controlled at all relevant times for the purpose of holding legal

title to the apartment buildings at 301 West 111th St, New York, NY; 2051 Frederick Douglass

Blvd, New York, NY; 302 West 111th Street, New York, NY; and 2051 8th Ave, New York, NY.


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       133.    Upon information and belief, Defendant 302 West 112 Street LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 302 West 112th Street, New York, NY.

       134.    Upon information and belief, Defendant 303 West 111 LLC is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment building located at 303 West 111th Street, New York, NY.

       135.    Upon information and belief, defendant 303-309 West 113 LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established and controlled at all relevant times for the purpose of holding legal

title to the apartment buildings located at 301 and 303 West 113th Street, New York, NY.

       136.    Upon information and belief, Defendant 305 West 111 LLC is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment building located at 305 West 111th Street, New York, NY.

       137.    Upon information and belief, Defendant 305-309 West 113 LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 309 West 113th Street, New York, NY.

       138.    Upon information and belief, defendant 306-310 West 112 LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 306 West 112th Street, New York, NY.




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       139.    Upon information and belief, defendant 307 West 113 LLC is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment building located at 307 West 113th Street, New York, NY.

       140.    Upon information and belief, Defendant 310 West 112th Street LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 310 West 112th Street, New York, NY.

       141.    Upon information and belief, defendant 311 West 111 Street LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 311 West 111th Street, New York, NY.

       142.    Upon information and belief, Defendant 337 West 138 Holdings LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 337 West 138th Street, New York, NY.

       143.    Upon information and belief, defendant 345 Manhattan Holdings LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 345 Manhattan Ave., New York, NY.

       144.    Upon information and belief, Defendant 35 Morningside Holdings LLC is a

limited liability company organized and existing pursuant to the laws of the State of New York

that the E&M Enterprise established, owned, and controlled at all relevant times for the purpose

of holding legal title to the apartment building located at 35 Morningside Ave., New York, NY.




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       145.    Upon information and belief, Defendant 350 West 115 LLC is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment building located at 350 West 115th Street, New York, NY.

       146.    Upon information and belief, Defendant 370-372 West 127 LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 370 West 127th Street, New York, NY.

       147.    Upon information and belief, defendant 373 West 126 LLC is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment building located at 373 West 126th Street, New York, NY.

       148.    Upon information and belief, defendant 376 West 127 LLC is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment building located at 175 Morningside Avenue, New York, NY.

       149.    Upon information and belief, defendant 41 W 184 St Owner LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 41 West 184th Street, New York, NY.

       150.    Upon information and belief, defendant 510 West 146 LLC is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment building located at 510 West 146th Street, New York, NY.




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       151.    Upon information and belief, defendant 521-523 W 156 St Owners LLC is a

limited liability company organized and existing pursuant to the laws of the State of New York

that the E&M Enterprise established, owned, and controlled at all relevant times for the purpose

of holding legal title to the apartment buildings at 521 and 523 West 156th St., New York, NY.

       152.    Upon information and belief, defendant 557-561 West 149 Holdings LLC is a

limited liability company organized and existing pursuant to the laws of the State of New York

that the E&M Enterprise established, owned, and controlled to hold legal title to the apartment

buildings located at 557 and 561 West 149th Street, New York, NY.

       153.    Upon information and belief, defendant 6 Morningside LLC is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment building located at 6 Morningside Avenue, New York, NY.

       154.    Upon information and belief, Defendant 606-619 West 135 Street Owner LLC is

a limited liability company organized and existing under the laws of the State of New York that

the E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment buildings at 609 and 619 West 135th St., New York, NY.

       155.    Upon information and belief, Defendant 610-620 West 141 Holdings LLC is a

limited liability company organized and existing pursuant to the laws of the State of New York

that the E&M Enterprise established, owned, and controlled at all relevant times for the purpose

of holding legal title to the apartment building located at 610 West 141st Street, New York, NY.

       156.    Upon information and belief, Defendant 617 West 143 Holdings LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 617 West 143rd Street, New York, NY.




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       157.   Upon information and belief, Defendant 638 West 160 Holdings LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 638 West 160th Street, New York, NY.

       158.   Upon information and belief, Defendant 65-67 Lenox LLC is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment building located at 65 Lenox Avenue, New York, NY.

       159.   Upon information and belief, defendant 67 Lenox LLC is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment building located at 67 Lenox Avenue, New York, NY.

       160.   Upon information and belief, defendant 707 St Nicholas LLC is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment buildings located at 707 and 768 Saint Nicholas Avenue, New York,

NY, and 331 and 770 Edgecombe Avenue, New York, NY.

       161.   Upon information and belief, defendant ACP Blvd Portfolio LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment buildings located at 2302 Adam C Powell Boulevard, New

York, NY; 204 West 133rd Street, New York, NY; 2232 Adam Clayton Powell Boulevard, New

York, NY; 2247 Adam Clayton Powell Boulevard, New York, NY; 2252 Adam Clayton Powell

Boulevard, New York, NY; 2484 Adam Clayton Powell Boulevard; and 2300 Adam Clayton

Powell Boulevard, New York, NY.


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       162.    Upon information and belief, defendant Audubon 550 W 171 Portfolio LLC is a

limited liability company organized and existing pursuant to the laws of the State of New York

that the E&M Enterprise established, owned, and controlled at all relevant times for the purpose

of holding legal title to the apartment building located at 104 Audubon Ave., New York, NY.

       163.    Upon information and belief, Defendant Avenue W Equities, LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 2302 West 112th Street, Brooklyn, NY.

       164.    Upon information and belief, Defendant DDEH 319 E 115 LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment buildings located at 319 East 115th Street, New York, NY and

321 East 115th Street, New York, NY.

       165.    Upon information and belief, Defendant E&M Associates I, LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 633 East 104th Street, Brooklyn, NY.

       166.    Upon information and belief, E&M Associates LLC is a limited liability company

organized and existing pursuant to the laws of the State of New York that the E&M Enterprise

established, owned, and controlled at all relevant times for the purpose of holding legal title to

the apartment building located at 615 East 104th Street, Brooklyn, NY.

       167.    Upon information and belief, Manhattan Valley West LLC is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment building located at 140 West 112th Street, New York, NY.


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       168.    Upon information and belief, Defendant Neighborhood Stabilization Associates I,

L.P. is a limited partnership company organized and existing pursuant to the laws of the State of

New York that the E&M Enterprise established, owned, and controlled at all relevant times for

the purpose of holding legal title to the apartment building located at 574 53rd St., Brooklyn, NY.

       169.    Upon information and belief, Neighborhood Stabilization Associates II., L.P. is a

limited partnership organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 338 53rd Street, Brooklyn, NY and 442

49th Street, Brooklyn, NY

       170.    Upon information and belief, Defendant Neighborhood Stabilization I, L.P. a/k/a

NSA Associates I is a limited partnership organized and existing pursuant to the laws of the State

of New York that the E&M Enterprise established, owned, and controlled at all relevant times

for the purpose of holding legal title to the apartment buildings located at 448 51st Street,

Brooklyn, NY; 4702-4 4th Avenue, Brooklyn, NY; 5203 6th Avenue, Brooklyn, NY; 5209 6th

Avenue, Brooklyn, NY; 5213 6th Avenue, Brooklyn, NY; 523 51st Street, Brooklyn, NY; 5301

6th Avenue, Brooklyn, NY; 5302-10 6th Avenue, Brooklyn, NY; 5305-11 6th Avenue, Brooklyn,

NY; 5319 6th Avenue, Brooklyn, NY; 5609 4th Avenue, Brooklyn, NY; 565 56th Street,

Brooklyn, NY; and 218 54th Street, Brooklyn, NY.

       171.    Upon information and belief, NSA Associates II is a limited liability company

organized and existing pursuant to the laws of the State of New York that the E&M Enterprise

established, owned, and controlled to hold legal title to the apartment buildings located at 317

and 319 43rd Street, Brooklyn, NY.

       172.    Upon information and belief, Defendant Sarasota Gold LLC is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established to hold legal title to 711 Seagirt Avenue, Queens, NY.


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       173.   Upon information and belief, Defendant Sixth Avenue I Associates is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 5314 6th Avenue, Brooklyn, NY.

       174.   Upon information and belief, Defendant Sixth Avenue Rehab I Associates is a

limited liability company organized and existing pursuant to the laws of the State of New York

that the E&M Enterprise established, owned, and controlled at all relevant times for the purpose

of holding legal title to the apartment buildings located at 5318 6th Avenue, Brooklyn, NY; 5320

6th Avenue, Brooklyn, NY; and 5324 6th Avenue, Brooklyn, NY.

       175.   Upon information and belief, Defendant Sunset Park Housing Associates is a

limited liability company organized and existing under the laws of the State of New York that

the E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment buildings located at 213 55th St., Brooklyn, NY and 558 50th

St., Brooklyn, NY.

       176.   Upon information and belief, Defendant Sunset Park N S A II is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment buildings located at 4924 6th Avenue, Brooklyn, NY; 581 50th Street,

Brooklyn, NY; 4922 6th Avenue, Brooklyn, NY; and 575 50th Street, Brooklyn, NY.

       177.   Upon information and belief, Defendant Sunset Park NSA 11 is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment buildings located at 323 43rd Street, Brooklyn, NY; 441 49th Street,

Brooklyn, NY; 444 49th Street, Brooklyn, NY; 4920 6th Avenue, Brooklyn, NY; 323 43rd Street,

Brooklyn, NY; and 517 49th Street, Brooklyn, NY.


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       178.    Upon information and belief, Defendant Sunset Park NSA 2 is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established to function as Title-Holding Entity of the buildings located at 334 and 336

53rd Street, Brooklyn, NY and 4906 6th Avenue, Brooklyn, NY.

       179.    Upon information and belief, Sunset Park NSA I is a limited liability company

organized and existing pursuant to the laws of the State of New York that the E&M Enterprise

established, owned, and controlled at all relevant times for the purpose of holding legal title to

the apartment buildings located at 224 54th St., Brooklyn, NY and 5207 6th Ave., Brooklyn, NY.

       180.    Upon information and belief, Defendant Sunset Park NSA II is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment buildings located at 436 49th Street, Brooklyn, NY; 438 49th Street,

Brooklyn, NY; 443 49th Street, Brooklyn, NY; 440 49th Street, Brooklyn, NY; 4902 6th Avenue,

Brooklyn, NY; 574 49th Street, Brooklyn, NY; and 549 49th Street, Brooklyn, NY.

       181.    Upon information and belief, 260 Elizabeth Street LLC is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment building located at 260 Elizabeth Street, New York, NY.

       182.    Upon information and belief, 262 Elizabeth Portfolio LLC is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment building located at 262 Elizabeth Street, New York, NY.

       183.    Upon information and belief, 264 Elizabeth Street Portfolio LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the




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E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building at 264 Elizabeth Street, New York, NY.

       184.    Upon information and belief, 266 Elizabeth Street Portfolio LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the building located at 266 Elizabeth Street, New York, NY.

       185.    Upon information and belief, Defendant 268 Elizabeth Street Portfolio LLC is a

limited liability company organized and existing pursuant to the laws of the State of New York

that the E&M Enterprise established, owned, and controlled at all relevant times for the purpose

of holding legal title to the apartment building located at 268 Elizabeth Street, New York, NY.

       186.    Upon information and belief, Defendant 11-15 Broadway Owner LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 11-15 Broadway, Queens, NY.

       187.    Upon information and belief, Defendant 30-50 21st Street Owner LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building at 30-50 21st Street, Queens, NY.

       188.    Upon information and belief, Defendant 271 E 197 St Owner LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 271 East 197th Street, Bronx, NY.

       189.    Upon information and belief, Defendant 750-760 Pelham Pkwy Owner LLC is a

limited liability company organized and existing pursuant to the laws of the State of New York




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that the E&M Enterprise established, owned, and controlled at all relevant times for the purpose

of holding legal title to the apartment building at 750 Pelham Parkway South, Bronx, NY.

       190.    Upon information and belief, Defendant 124 E 177 St Owner LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 124 East 177th Street, Bronx, NY.

       191.    Upon information and belief, Defendant 3472 Knox Place Owner LLC is a

limited liability company organized and existing pursuant to the laws of the State of New York

that the E&M Enterprise established, owned, and controlled at all relevant times for the purpose

of holding legal title to the apartment building located at 3472 Knox Place, Bronx, NY.

       192.    Upon information and belief, Defendant 2320 Aqueduct Ave Owner LLC is a

limited liability company organized and existing pursuant to the laws of the State of New York

that the E&M Enterprise established, owned, and controlled at all relevant times for the purpose

of holding legal title to the apartment building at 2320 Aqueduct Ave, Bronx, NY.

       193.    Upon information and belief, 1160 Cromwell Ave Owner LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building at 1160 Cromwell Avenue, Bronx, NY.

       194.    Upon information and belief, Defendant 3940 Bronx Blvd Owner LLC is a

limited liability company organized and existing pursuant to the laws of the State of New York

that the E&M Enterprise established, owned, and controlled at all relevant times for the purpose

of holding legal title to the apartment building located at 3940 Bronx Boulevard, Bronx, NY.

       195.    Upon information and belief, Defendant 1881 Grand Concourse Realty LLC is a

limited liability company organized and existing pursuant to the laws of the State of New York




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that the E&M Enterprise established, owned, and controlled at all relevant times for the purpose

of holding legal title to the apartment building located at 1881 Grand Concourse, Bronx, NY.

       196.    Upon information and belief, Defendant 3136 Perry Ave Owner LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 3136 Perry Avenue, Bronx, NY.

       197.    Upon information and belief, 155 W 162 Street LLC is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment building at 155 West 162nd Street, Bronx, NY.

       198.    Upon information and belief, Defendant 1014 Gerard Avenue Owner LLC is a

limited liability company organized and existing pursuant to the laws of the State of New York

that the E&M Enterprise established, owned, and controlled at all relevant times for the purpose

of holding legal title to the apartment building at 1014 Gerard Avenue, Bronx, NY.

       199.    Upon information and belief, Defendant 1475 Sheridan Ave Owner LLC is a

limited liability company organized and existing pursuant to the laws of the State of New York

that the E&M Enterprise established, owned, and controlled at all relevant times for the purpose

of holding legal title to the apartment building at 1475 Sheridan Ave., Bronx, NY.

       200.    Upon information and belief, Defendant 320 E 197 St Owner LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 320 East 197th Street, Bronx, NY.

       201.    Upon information and belief, defendant 131 W Kingsbridge Owner LLC is a

limited liability company organized and existing pursuant to the laws of the State of New York




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that the E&M Enterprise established, owned, and controlled at all relevant times for the purpose

of holding legal title to the apartment building at 131 West Kingsbridge Road, Bronx, NY.

       202.   Upon information and belief, 2701 Webb Ave Owner LLC is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment building located at 125 West Kingsbridge Road, Bronx, NY.

       203.   Upon information and belief, defendant 751 Gerard Ave Owner LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 751 Gerard Avenue, Bronx, NY.

       204.   Upon information and belief, Defendant 2055 Anthony Ave Owner LLC is a

limited liability company organized and existing pursuant to the laws of the State of New York

that the E&M Enterprise established, owned, and controlled at all relevant times for the purpose

of holding legal title to the apartment building located at 2055 Anthony Avenue, Bronx, NY.

       205.   Upon information and belief, 975 Walton Ave Owner LLC is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment building located at 975 Walton Avenue, Bronx, NY.

       206.   Upon information and belief, defendant 1212 Grand Concourse Owner LLC is a

limited liability company organized and existing pursuant to the laws of the State of New York

that the E&M Enterprise established, owned, and controlled at all relevant times for the purpose

of holding legal title to the apartment building located at 1212 Grand Concourse, Bronx, NY.

       207.   Upon information and belief, defendant 1530 Sheridan Ave Owner LLC is a

limited liability company organized and existing pursuant to the laws of the State of New York




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that the E&M Enterprise established, owned, and controlled at all relevant times for the purpose

of holding legal title to the apartment building located at 1530 Sheridan Avenue, Bronx, NY.

       208.    Upon information and belief, defendant 323 E Mosholu Pkwy Owner LLC is a

limited liability company organized and existing pursuant to the laws of the State of New York

that the E&M Enterprise established, owned, and controlled at all relevant times for the purpose

of holding legal title to the apartment building at 323 East Mosholu Parkway North, Bronx, NY.

       209.    Upon information and belief, Defendant 161-165 E 179 St Owner LLC is a

limited liability company organized and existing pursuant to the laws of the State of New York

that the E&M Enterprise established, owned, and controlled at all relevant times for the purpose

of holding legal title to the apartment building located at 161 East 179th Street, Bronx, NY.

       210.    Upon information and belief, Defendant 2215 Properties LLC is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment building located at 2215 Newkirk Avenue, Brooklyn, NY.

       211.    Upon information and belief, Defendant DDEH 103 E 102 LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 103 East 102nd Street, New York, NY.

       212.    Upon information and belief, Defendant DDEH 112 E 103 LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 112 East 103rd Street, New York, NY.

       213.    Upon information and belief, Defendant DDEH 102 E 103 LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the




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E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 118 East 103rd Street, New York, NY.

       214.    Upon information and belief, Defendant DDEH 122 E 103ST LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 122 East 103rd Street, New York, NY.

       215.    Upon information and belief, Defendant DDEH 124 E117 LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 124 East 103rd Street, New York, NY.

       216.    Upon information and belief, Defendant DDEH 126 E 103ST LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 126 East 103rd Street, New York, NY.

       217.    Upon information and belief, Defendant DDEH 124 E. 117 LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 136 East 117th Street, New York, NY.

       218.    Upon information and belief, Defendant DDEH 137 E. 110 LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment buildings located at 137 and 139 East 110th Street, New York,

NY.

       219.    Upon information and belief, Defendant DDEH 154 E. 106 LLC is a limited

liability company organized under the laws of the State of New York that the E&M Enterprise


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established, owned, and controlled at all relevant times for the purpose of holding legal title to

the apartment building located at 154 East 106th Street, New York, NY.

       220.    Upon information and belief, Defendant DDEH 1567 Lexington LLC is a limited

liability company organized under the laws of the State of New York that the E&M Enterprise

established, owned, and controlled at all relevant times to hold title to the apartment buildings at

1567, 1569, 1571, and 1575 Lexington Avenue, New York, NY.

       221.    Upon information and belief, Defendant DDEH 228 E 111 LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 204 East 112th Street, New York, NY.

       222.    Upon information and belief, Defendant DDEH 215 E 117 LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 215 East 117th Street, New York, NY.

       223.    Upon information and belief, Defendant DDEH 2156 Second LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 2156 2nd Avenue, New York, NY.

       224.    Upon information and belief, Defendant DDEH 216 E 118 LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 216 East 118th Street, New York, NY.

       225.    Upon information and belief, Defendant DDEH 2171 Third LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the




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E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment buildings at 2171 and 2173 3rd Avenue, New York, NY.

       226.    Upon information and belief, Defendant DDEH 291 Pleasant LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times to hold legal title to the

apartment buildings at 228 East 116th Street, New York, NY; 291 Pleasant Ave., New York, NY;

237 East 11th St., New York, NY; and 413 East 114th St., New York, NY.

       227.    Upon information and belief, Defendant DDEH 231 E 117 LLC is a limited

liability company organized and existing under the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment buildings located at 231 and 235 East 117th Street, New York, NY.

       228.    Upon information and belief, Defendant DDEH 233 E 111 Street LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 233 East 111th Street, New York, NY.

       229.    Upon information and belief, Defendant DDEH 234 E 116ST LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 234 East 116th Street, New York, NY.

       230.    Upon information and belief, Defendant DDEH 235 E 111ST LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 235 East 111th Street, New York, NY.

       231.    Upon information and belief, Defendant DDEH 234 E116 LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the


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E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 238 East 116th Street, New York, NY.

       232.    Upon information and belief, Defendant DDEH 2371 Second LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 2371 2nd Avenue, New York, NY.

       233.    Upon information and belief, Defendant DDEH 238 E 111 LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 238 East 111th Street, New York, NY.

       234.    Upon information and belief, Defendant DDEH 244 E 117 LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 244 East 117th Street, New York, NY.

       235.    Upon information and belief, Defendant DDEH 311 E. 109 LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 311 East 109th Street, New York, NY.

       236.    Upon information and belief, Defendant DDEH 312 E 106 LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment buildings at 312 and 318 East 106th Street, New York, NY.

       237.    Upon information and belief, Defendant DDEH 312 E 106 ST LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the




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E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 328 East 106th Street, New York, NY.

       238.    Upon information and belief, Defendant DDEH 411 E 114 LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 411 East 114th Street, New York, NY.

       239.    Upon information and belief, Defendant DDEH 411 E118LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 411 East 118th Street, New York, NY.

       240.    Upon information and belief, Defendant DDEH 417E 114ST LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 417 East 114th Street, New York, NY.

       241.    Upon information and belief, Defendant DDEH 411 E 114 LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment buildings located at 419 East 114th Street, New York, NY and

423 East 114th Street, New York, NY.

       242.    Upon information and belief, Defendant DDEH 421 EAST 114th ST LLC is a

limited liability company organized and existing under the laws of the State of New York that

the E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 421 East 114th Street, New York, NY.

       243.    Upon information and belief, Defendant 131-133 West 112 Street LLC is a

limited liability company organized and existing pursuant to the laws of the State of New York


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that the E&M Enterprise established, owned, and controlled at all relevant times for the purpose

of holding legal title to the apartment building located at 131 West 112th Street, New York, NY.

       244.    Upon information and belief, Defendant 133 West 112 Street LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 133 West 112th Street, New York, NY.

       245.    Upon information and belief, Defendant 143 West 111 Street LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 143 West 111th Street, New York, NY.

       246.    Upon information and belief, Defendant 655 West 160 Holdings LLC is a limited

liability company organized and existing pursuant to the laws of the State of New York that the

E&M Enterprise established, owned, and controlled at all relevant times for the purpose of

holding legal title to the apartment building located at 655 West 160th Street, New York, NY.

       247.    Upon information and belief, Defendant 117 West 141 LLC is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment buildings located at 117 – 125 West 141st Street, New York, NY.

       248.    Upon information and belief, Defendant 127 West 141 LLC is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M

Enterprise established, owned, and controlled at all relevant times for the purpose of holding

legal title to the apartment buildings located at 127 – 135 West 141st Street, New York, NY.

       249.    Upon information and belief, Defendant 137 West 141 LLC is a limited liability

company organized and existing pursuant to the laws of the State of New York that the E&M




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Enterprise established, owed, and controlled at all relevant times for the purpose of holding legal

title to the apartment buildings located at 137 – 145 West 141st Street, New York, NY.

        250.    Upon information and belief, Defendant 3030 Valentine Ave Owner LLC is a

limited liability company organized and existing pursuant to the laws of the State of New York

that the E&M Enterprise established, owned, and controlled at all relevant times for the purpose

of holding legal title to the apartment building located at 3030 Valentine Avenue, Bronx, NY.

                                CLASS ACTION ALLEGATIONS

        251.    The Representative Plaintiffs bring this action individually and as a class action

on behalf of all persons similarly situated and proximately damaged by Defendants’ conduct,

including, but not necessarily limited to, the following Plaintiff Classes:

        FLSA Class:

        252.    The FLSA Class refers to all persons who are, or have been, employed as

Superintendents and Porters at buildings owned, controlled and/or managed by Defendants at

any New York location who elect to opt-in to this action (the “FLSA Collective Plaintiffs”) from

three (3) years prior to this action’s filing through the date of the final disposition.

        253.    This action claims that Defendants violated the wage and hour provisions of

FLSA by depriving Plaintiffs, as well as others similarly situated to named Plaintiffs, of their

lawful wages. Upon information and belief, there are many similarly situated current and former

Superintendents and Porters of Defendants who have been underpaid in violation of the FLSA

and who would benefit from the issuance of a court-supervised notice of this lawsuit and the

opportunity to join this lawsuit.

        254.    At all relevant times, Defendants are aware and have been aware of the

requirements to pay Plaintiffs and FLSA Plaintiffs at an amount equal to the rate of one and one-

half times their regular rates of pay for all hours worked each workweek above forty, yet they

purposely and willfully chose not to do so.


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       255.      Because Defendants misclassified Plaintiffs and FLSA Plaintiffs as exempt

salaried employees, they failed to pay Plaintiffs and FLSA Plaintiffs federal minimum wage and

refused to pay compensation for all hours worked per workweek above forty in violation of the

FLSA. In addition, the weekly sums paid to Plaintiffs and FLSA Plaintiffs were so egregiously

low that they fell below federal minimum wage.

       256.      The FLSA Collective Plaintiffs are readily ascertainable. For purpose of notice

and other purposes related to this action, their names and addresses are readily available from

Defendants.

       257.      Plaintiffs and all similarly situated employees who elect to participate in this

action seek unpaid compensation, unpaid overtime, an equal amount of liquidated damages

and/or prejudgment interest, attorneys’ fees, and costs pursuant to 29 U.S.C. § 216(b).

       The New York Class – Rule 23 Class Allegations:

       258.        The New York Class refers to all persons who are, or have been, employed as

Superintendents and Porters at buildings owned, controlled and/or managed by Defendants at

any New York location on or after the date that is six years before the filing of the Complaint in

this case and the date of final judgment in this matter as defined herein (the “Class Period”).

       259.        The Rule 23 Class Members (New York Class) are readily ascertainable. The

number and identity of the Rule 23 Class Members are determinable from the records of

Defendants. The positions held, and nature and extent of certain unlawful deductions from

wages are also determinable from Defendants’ records.          For purposes of notice and other

purposes related to this action, their names and addresses are readily available from Defendants.

Notice can be provided by means permissible under Fed. R. Civ. P. 23.

       260.        The Defendants, their officers, and directors are excluded from the Classes, as

well as all persons who will submit timely and otherwise proper requests for exclusion from the

Rule 23 Class.


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       261.         This action has been brought and may properly be maintained as a

class/collective action under Fed.R.Civ.P. Rule 23 and 29 U.S.C. §216 because there is a well-

defined community of interest in the litigation and the proposed Classes are easily ascertainable.

               a.      Numerosity: A class action is the only available method for the fair and

       efficient adjudication of this controversy. The members of the classes are so numerous

       that joinder of all members is impractical, if not impossible, insofar as the Representative

       Plaintiffs are informed and believe and, on that basis, allege that the total number of

       Class Members exceeds two hundred sixty-five (265) individuals. Membership in the

       Plaintiff Classes will be determined upon analysis of employee and payroll records,

       among other records maintained by Defendants.

               b.      Commonality: The Representative Plaintiffs and the Class Members share

       a community of interests in that there are numerous common questions and issues of fact

       and law which predominate over any questions and issues solely affecting individual

       members, thereby making a class action superior to other available methods for the fair

       and efficient adjudication of the controversy. Consequently, class certification is proper

       under Fed.R.Civ.P. Rule 23(b)(3) and 29 U.S.C. §216(b).           For example, the E&M

       Enterprise’s practice and policy of failing to comply with New York Labor Law

       requirements pertaining to wage notices and pay statements, as alleged above, applies to

       all members of the New York Class, and the relief demanded (including, inter alia, the

       demand for injunctive and declaratory relief) affects the entire class. Similarly, the E&M

       Enterprise’s policy and practice of unlawful deductions is applicable class-wide and

       involves common legal and factual issues.

               c.      Typicality: The Representative Plaintiffs’ claims are typical of the claims

       of the Plaintiff Classes. The Representative Plaintiffs and all members of the Plaintiff

       Classes sustained injuries and damages arising out of and caused by Defendants’


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  common course of conduct in violation of state and federal law, as alleged herein. All of

  the Rule 23 Class Members were subject to the same corporate practices of Defendants of

  failing to pay minimum wage and overtime compensation; unlawful wage deductions;

  violations of NYLL §195(3) by failing to issue wage statements to employees that

  correctly identified the name of the employer, address of employer, rates of pay or basis

  thereof, regular hourly rate, number of overtime hours worked; and violations of NYLL

  §195(1) by failing to provide to employees, upon hiring, a written notice in English and

  the employee’s primary language setting forth the employee’s rates of pay and basis

  thereof, the name of the employer, physical address of the employer’s business, names

  used by the employer, and other legally-mandated disclosures.

         d.      Superiority of Class Action: Since the damages suffered by individual

  Class Members, while not inconsequential, may be relatively small, the expense and

  burden of individual litigation by each member makes, or may make it, impractical for

  Class Members to seek redress individually for the wrongful conduct alleged herein.

  Should separate actions be brought or be required to be brought by each individual Class

  Member, the resulting multiplicity of lawsuits would cause undue hardship and expense

  for the Court and the litigants. The prosecution of separate actions would also create a

  risk of inconsistent rulings, which might be dispositive of the interests of other Class

  Members who are not parties to the adjudications and/or may substantially impede their

  ability to adequately protect their interests. This risk is particularly applicable here, in

  light of the demand herein for declaratory and injunctive relief relating to NYLL § 195(1)

  and (3). Moreover, the Representative Plaintiffs are informed and believe, and based

  thereon allege, that Defendants, have acted and refused to act on grounds generally

  applicable to all claims, thereby making appropriate injunctive and monetary relief for all




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       members of each class. Consequently, Class certification is proper under Fed.R.Civ.P.

       Rule 23(b)(2) and 29 U.S.C. § 216(b).

               e.      Adequacy of Representation: The Representative Plaintiffs in this class

       action are adequate representatives of the Plaintiff Classes, in that the Representative

       Plaintiffs’ claims are typical of those of the Plaintiff Classes and the Representative

       Plaintiffs have the same interests in the litigation of this case as the Class Members. The

       Representative Plaintiffs are committed to vigorous prosecution of this case, and have

       retained competent counsel, experienced in employment litigation of this nature. The

       Representative Plaintiffs are not subject to any individual defenses unique from those

       conceivably applicable to the Class as a whole.

       262.    Upon information and belief, Defendants and other employers throughout the

state violate the New York Labor Law. Current employees are often afraid to assert their rights

out of fear of direct retaliation or indirect retaliation. Former employees are fearful of bringing

claims because doing so can harm their employment, future employment and future efforts to

secure employment. Class actions provide Rule 23 Class Members who are not named in the

complaint a degree of anonymity which allows for the vindication of their rights while

eliminating or reducing these risks. These factors are particularly applicable to immigrant low-

wage workers, such as the Plaintiff Classes herein.

                           COMMON FACTUAL ALLEGATIONS

       263.         As described herein, Defendants have, for years, knowingly failed to

adequately compensate those employees within the class definitions identified above for wages,

including minimum wage and premium (overtime) wages due, under the FLSA (29 U.S.C. §§

206 and 207), and unlawfully deducted sums from wages in violation of the New York Wage

Payment Act, Labor Law § 190, et seq., the New York Labor Law § 650, et seq., and New York

Department of Labor Regulations, 12 N.Y.C.R.R. Part 142. Among other means, Defendants


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engaged in unlawful business practices by requiring employees to work numerous hours of

overtime on a daily and/or weekly basis without overtime compensation.              In addition,

Defendants took unlawful deductions from the Representative Plaintiffs’ wages, by requiring

them to pay the cost of tools, supplies, and cellular phones which were required for the

maintenance of the Buildings and requiring Superintendents to pay for their own assistants.

       264.        Upon information and belief, Defendants have been and continue to be

employers engaged in interstate commerce and/or the production of goods for commerce, within

the meaning of the FLSA, 29 U.S.C. §§ 206(a) and 207(a).

       265.        At all relevant times, Defendants employed, and/or continue to employ,

Plaintiffs and each of the FLSA Class members within the meaning of the FLSA.

       266.        At all relevant times, Defendants employed, and/or continue to employ,

Plaintiffs and each of the New York Class members within the meaning of the NYLL, §§ 2 and

651.

       267.        At all relevant times, Defendants have been Plaintiffs’ employers within the

meaning of the FLSA and NYLL.

       268.   Defendants employ employees at their places of business in the activities of an

enterprise engaged in commerce, including employees handling, selling or otherwise working on

goods or materials that have been moved or produced for commerce. The enterprise has an

annual gross volume of sales made or business done in an amount not less than $500,000.

Therefore, the employees are employed in an enterprise engaged in commerce within the

meaning of section (3)(s)(1)(A) of the FLSA.

       269.   At all relevant times, the E&M Enterprise, and its constituent entities, were and

continue to be an “enterprise engaged in commerce” within the meaning of the FLSA, operating

a group of approximately two-hundred and sixty-two (262) apartment buildings under different

corporate names.


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        270.    Upon information and belief, at all relevant times, the E&M Enterprise has

willfully had a practice and procedure of concealing and obfuscating the true identity of the

entities and individuals who have the status of “employer” as that term is defined and understood

under the FLSA and NYLL. Hundreds of E&M employees receive paychecks and statements

that falsely suggest that the employees are employed by “StaffPro, Inc.” even though Defendants

are well aware that the employees are employed by Defendants.

        Defendants Constitute Joint Employers

        271.    The number of buildings that the E&M Enterprise has acquired and/or controlled

has fluctuated over the past three decades as blocks of buildings are bought and sold by the

enterprise. However, the Representative Plaintiffs are informed and believe that the E&M

Enterprise has remained constant over a period of years, continuing to the present, namely:

        (a) Ultimate control of Buildings is exercised by Langer;

        (b) Though the Buildings are titled in different corporate names, the individual
            defendants have substantial ownership interests in each such entities;

        (c) All buildings of the E&M Enterprise have the same entities serving as their managing
            agent. Today, the Management Entities go by names of “E&M Bronx Associates
            LLC”, “Galil Management LLC”; and “E&M Associates”;

        (d) Family members of the individual defendants have been active participants in the
            E&M Enterprise. For example, Ginzberg’s son-in-law handles vacancies, rentals,
            tenant issues, and financial issues in the E&M Enterprise’s Walton Avenue Office;
            and

        (e) The E&M Enterprise has consistently exhibited disregard for the legal and human
            rights of the largely low-income and immigrant individuals who live and/or work in
            the Buildings that the E&M Enterprise controls. With respect to porters and
            superintendents, the E&M Enterprise’s callous disregard has entailed, inter alia, gross
            and willful neglect for the rights of the porters to receive minimum wage and/or
            overtime remuneration in the amounts provided for under the FLSA.

        272.    Each of the Defendants acted directly or indirectly in the interest of one another in

relation to Plaintiffs.

        273.    The E&M Enterprise is controlled and directed by a closely-knit group, many of

whom are family members. For example, Ginzberg’s son in law, Sruly Tress, serves as manager

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of one or more of the Buildings, supervises the Buildings’ employees, and performs other

managerial tasks pertaining to rentals and finances for E&M Bronx.       Similarly, Langer’s son,

Michael Langer, is involved in the E&M Enterprise.

       274.   Defendants have an economic interest in the Buildings.

       275.   Defendants each had either functional and/or formal control over terms and

conditions of work and over the policies and practices with respect to the employment and

compensation of the Representative Plaintiffs.

       276.   Defendants employ or employed Plaintiffs, and are or were Plaintiffs’ employers

within the meaning of 29 U.S.C. 201 et seq. and the NYLL.

       277.   Upon information and belief, the Corporate Defendants are either alter egos of

themselves, and/or the Corporate Defendants failed to operate as entities legally separate and

apart from themselves by, among other things:

       (a) Failing to adhere to the corporate formalities necessary to operate Corporate
           Defendants as corporations;

       (b) Defectively forming or maintaining corporations by, among other things, failing to
           hold annual meetings or maintaining appropriate corporate records;

       (c) Transferring assets and debts freely as between all Corporate Defendants, including,
           inter alia, through cross-collateralization of the Buildings to generate capital for the
           enterprise as a whole;

       (d) Operating Corporate Defendants for their own benefit and maintaining control over
           these corporations as close corporations;

       (e) Intermingling assets and debts of their own with Corporate Defendants and
           diminishing and/or transferring assets to avoid full liability as necessary to protect
           their own interests; and

       (f) Other actions evidencing a failure to adhere to the corporate form.

       278.   Upon information and belief, Defendants run the business of all of the E&M

Enterprise as one operation, and Defendants’ operations were interrelated and united.




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        279.    Defendants had the power to hire and fire Plaintiffs, controlled the terms and

conditions of employment, and determined the rate and method of any compensation in exchange

for Plaintiffs’ services.

        280.    Upon information and belief, Defendants knew or should have known of, and had

the authority to exercise control over, the accuracy of records concerning the hours and wages of

the Representative Plaintiffs and similarly situated employees.

        281.    The E&M Enterprise uses a single, integrated payroll service, known as

“StaffPro” to pay their Superintendents, Porters and other employees.

        282.    With respect to hundreds of employees, including, inter alia, the Superintendents,

the E&M Enterprise unlawfully issued paychecks to Superintendents under the name “StaffPro”

on the paystubs, as well as on the checks, without identifying the E&M Enterprise as the actual

employer. Upon information and belief, this common practice and policy was applied to the

Superintendents at all of the Buildings.

        283.    Although the E&M Enterprise is the employer of all the Superintendents – and the

E&M Enterprise hires, fires, controls, supervises, and handles all decision-making with respect

to the Superintendents and other employees of the Buildings controlled by the E&M Enterprise –

it utilizes the services of “StaffPro” to remit paychecks to workers.

        284.    Consistent with their policies and patterns or practices, Defendants harmed

Plaintiffs individually, as set forth below.

        USVALDO CONTRERA

        285.    Contrera’s responsibilities as superintendent of 655 West 160th Street included,

among other tasks: maintaining the building’s appearance, cleaning, mopping, minor repairs,

plastering, minor plumbing, accepting oil deliveries, purchasing supplies, communicating with

tenants regarding minor repairs, sweeping the sidewalk, recycling, garbage, cleaning the elevator

hold, showing vacant apartments, cleaning and removing discarded items from newly-vacated


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apartments, installing kitchen appliances including stoves and refrigerators, maintaining

bathroom and kitchen faucets, fitting locks, patching drywall, communicating with contractors,

shoveling snow, and allowing emergency responders, including police, ambulance and fire

personnel, into the building at all hours of the night and day, and generally serving as the first

point of contact for resident service requests.

         286.   Contrera was required to be on call at or near 655 West 160th Street, 24 hours per

day, seven days a week, including holidays to address reoccurring emergent issues, such as

clogged toilets, leaks, falling ceilings, replacing lock cylinders, fixing lights, and other issues that

either the Defendants or tenants of 655 West 160th St. would demand that he address. The

Defendants and the tenants would contact Mr. Contrera by his cellular telephone.

         287.   Throughout his employment, Contrera worked 80 hours per week. During periods

of severe winter weather, his workweek would substantially exceed 80 hours.

         288.   Contrera was required, as a condition of his employment, to pay, from his

personal funds, for his tools, which included, among others, a paint compressor, nail guns, screw

guns, circular saw, snake, grinder, and a tile cutter.

         289.   Contrera was required, as a condition of his employment, to pay for work-related

transportation expenses, including transportation to and from a hardware store located in the

Bronx.

         290.   Contrera was unlawfully deprived of both minimum wage and overtime

compensation to which he was entitled under the FLSA. Mr. Contrera further had his wage

unlawfully deducted from in violation of NYLL.

         291.   As a condition of Mr. Contreras’s employment, he was required to reside in the

building. However, he was not provided with a habitable space. Instead, he was placed by the

Defendants in an unregistered basement area that was uninhabitable and dangerous.




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       292.    When his employment was terminated, the Defendants unlawfully attempted to

coerce Contrera into vacating his apartment without having obtained a court order by physically

removing the door to his living area in the basement. The aforesaid treatment of Mr. Contrera

typifies the willfulness of Defendants’ wage violations and disregard of the law.

       293.    The Defendants paid Contrera on a weekly basis.       Defendants failed to provide

Contrera with proper wage statements that accurately reflected the amount of hours that he

worked each week, his regular rate of pay, or his overtime rate of pay for each hour worked over

forty in a given workweek.

       294.    Throughout the entirety of Contrera’s employment, the Defendants paid Contrera

an amount totaling $400.00 per week, with this amount intended to cover only Contrera’s first

forty hours worked per week, which amounts to a rate of $10.00 per hour for his first forty hours

worked per week.

       295.    Throughout the entirety of Contrera’s employment, Defendants failed to pay

Contrera at any rate of pay for any hours that Contrera worked per week in excess of forty.

       296.    Additionally, Defendants intentionally did not provide Contrera with a wage

notice at the time of hire that accurately contained all of the following information: Contrera’s

rates of pay and basis thereof; whether Contrera was paid by hour, shift, day, week, salary, piece,

commission, or other; whether any allowances were claimed as part of the minimum wage,

including tip, meal or lodging allowances; the regular pay day designated by Defendants; and

Defendants’ mailing addresses.

       FRANCISCO LOPEZ

       297.    During his employment with the E&M Enterprise as Superintendent of 638 West

160th Street, Lopez’ routine responsibilities included, among other things, maintaining the

appearance of the building, cleaning, mopping, minor repairs, plastering, minor plumbing,

accepting oil deliveries, ordering supplies, communicating with tenants regarding minor repairs,


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sweeping the sidewalk, recycling, garbage, cleaning and removing discarded items from newly-

vacated apartments, installing kitchen appliances including stoves and refrigerators, maintaining

bathroom and kitchen faucets, communicating with contractors, allowing emergency responders,

including police, ambulance and fire personnel, into the building, at all hours of the night and

day, shoveling snow, and performing countless other tasks at all hours of the day and night for

maintaining the building.

         298.   Lopez was required to remain on call, at or near 638 West 160th Street, nearly 24

hours per day, seven days a week, including holidays, except for a two-week vacation that was

arranged in advance per year.

         299.   Throughout his employment, Lopez worked 80 hours per week. During periods of

severe winter weather, his workweek would substantially exceed 80 hours.

         300.   Lopez was required, as a condition of his employment, to pay, from his personal

funds, for his tools, which included, among others, a paint compressor, nail guns, screw guns,

circular saw, snake, grinder, and a tile cutter.

         301.   Lopez was required, as a condition of his employment, to pay for work-related

transportation expenses, including transportation to and from a hardware store located in the

Bronx.

         302.   Lopez was unlawfully deprived of both minimum wage and overtime

compensation to which he was entitled under the FLSA. Lopez further had his wage unlawfully

deducted from in violation of NYLL.

         303.   Throughout the entirety of Lopez’ employment, the Defendants paid Lopez a

gross fixed amount of $275 per week, with this amount intended to cover only Lopez’ first forty

hours worked per week, which amounts to a rate of $6.87 per hour for his first forty hours

worked per week.




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       304.    Throughout the entirety of Lopez’ employment, Defendants failed to pay Lopez at

any rate of pay for any hours that Lopez worked per week in excess of forty.

       305.    Additionally, Defendants intentionally did not provide Lopez with a wage notice

at the time of hire that accurately contained all of the following information: Lopez’ rates of pay

and basis thereof; whether Lopez was paid by hour, shift, day, week, salary, piece, commission,

or other; whether any allowances were claimed as part of the minimum wage, including tip, meal

or lodging allowances; the regular pay day designated by Defendants; and Defendants’ mailing

addresses.

       306.    Lopez’ rate of pay was unlawfully below federal minimum wage.

       307.    The Defendants violated NYLL § 193 and 12 NYCRR § 142-2.10 by compelling

Lopez, as a condition of continued employment, to spend his money on work-related expenses,

which further reduced his wages below the required minimum wage, including but not limited to:

       (a) Cellular telephone expenses, for which Lopez received only partial compensation;

       (b) Supply his own tools, including drill, electric snake, screwdriver, hammer, handsaw,
           pliers, and similar items;

       (c) Supply his own materials to make repairs in the buildings; and

       (d) Costs of Porters/helpers, whose assistance was required.

       308.    Defendants violated their obligation under the FLSA to make and preserve a

record of the hours worked by Lopez – an unlawful practice and procedure that was applied to all

superintendents and porters.

       309.    The aforesaid treatment of Lopez is typical of the manner in which the E&M

Enterprise treats their Superintendents of each of the E&M Enterprise Buildings.




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                       AS AND FOR A FIRST CAUSE OF ACTION
                   FLSA Minimum Wage Violations, 29 U.S.C. §§ 201 et seq.
                                   (FLSA Class)

          310.   The Representative Plaintiffs, on behalf of themselves and the FLSA Class

members, incorporate in this cause of action each and every allegation of the preceding

paragraphs, with the same force and effect as though fully set forth herein.

          311.   Defendants’ failure to compensate the Representative Plaintiffs and other

members of the FLSA class at the FLSA minimum wage rate of pay violates 29 U.S.C § 206.

          312.   As a result of the foregoing, the Representative Plaintiffs demand judgment

against Defendants on their own behalf, and on behalf of those FLSA Class Members similarly

situated who file written consents to joinder in this action, for all unpaid wages, including

minimum wage and overtime wages owed by Defendants to the Representative Plaintiffs and the

FLSA Class, pursuant to 29 U.S.C. §§ 206 and 207, together with an award of an additional

equal amount as liquidated damages, costs, interest, and reasonable attorneys’ fees, as provided

for under 29 U.S.C. § 216(b).

          313.   Defendants’ violations of the FLSA were willful, thus the three year statute of

limitations of 29 U.S.C. § 255 applies.


                       AS AND FOR A SECOND CAUSE OF ACTION
                    FLSA Overtime Wage Violations, 29 U.S.C. §§ 201 et seq.
                                      (FLSA Class)

          314.   The Representative Plaintiffs incorporate in this cause of action each and every

allegation of the preceding paragraphs, with the same force and effect as though fully set forth

herein.

          315.   At all relevant times hereto, the Defendants have been employers engaged in

commerce, as defined under 29 U.S.C. § 203(b) and (d). Defendants employed members of the

FLSA Class as Superintendents, employment positions which engaged the employees in

commerce, as defined under 29 U.S.C. §§ 203(b), (e), (g) and 29 U.S.C. § 207(a)(1). At all times

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relevant hereto, Defendants have been an “enterprise engaged in commerce or in the production

of goods for commerce,” as defined under 29 U.S.C. § 203(s)(1).

        316.    The Representative Plaintiffs informed and believe, and thereon allege, that

Defendants have required, or require, the FLSA Class Members as part of their employment to

work without additional compensation, such as overtime, in excess of the forty hours per week

maximum under 29 U.S.C. § 207(a)(1). That Section provides the following:

        Except as otherwise provided in this section, no employer shall employ any of his
        employees...for a workweek longer than forty hours unless such employee receives
        compensation for his employment in excess of the hours above specified at a rate which
        is not less than one and one-half times the regular rate at which he is employed.


        317.    Indeed, in the performance of their duties for Defendants, members of the FLSA

Class routinely worked over substantially more than forty (40) hours per week, yet did not

receive overtime compensation for the work, labor and services they provided to Defendants, as

required by the FLSA, 29 U.S.C. §§ 206 and 207. The precise number of unpaid overtime hours

will be proven at trial.

        318.    Representative Plaintiffs propose to undertake appropriate proceedings to have

such FLSA Class Members aggrieved by Defendants’ unlawful conduct notified of the pendency

of this action and join this action as plaintiffs, pursuant to 29 U.S.C. § 216(b), by filing written

consents to joinder with the Court.

        319.    Defendants’ violations of the FLSA were willful violations of the FLSA, within

the meaning of 29 U.S.C. § 255(a).

        320.    As a result of the foregoing, the Representative Plaintiffs seek judgment against

Defendants on their own behalf, and on behalf of those FLSA Class Members similarly situated

who file written consents to joinder in this action, for all unpaid wages, including minimum

wage and overtime wages owed by Defendants to the Representative Plaintiffs and the FLSA

Class, pursuant to 29 U.S.C. §§ 206 and 207, together with an award of an additional equal


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amount as liquidated damages, and costs, interest, and reasonable attorneys’ fees, as provided for

under 29 U.S.C. § 216(b).

                          AS AND FOR A THIRD CAUSE OF ACTION
                    Illegal Deductions, New York Labor Law, Article 19 § 193
                                     12 N.Y.C.R.R. § 2.10(a).
                                         (New York Class)

          321.    The Representative Plaintiffs incorporate in this cause of action each and every

allegation of the preceding paragraphs, with the same force and effect as though fully set forth

herein.

          322.    In violation of the New York Labor Law, Article 19, § 193, Defendants

unlawfully deducted wages from the Representative Plaintiffs, including inter alia, deductions

by requiring Superintendents to spend their own money on work-related expenses, which further

reduced their wages below the required minimum wage, including but not limited to, cellular

telephone expenses, supplying their own tools and supplies to complete mandated work, and

requiring Representative Plaintiffs and those similarly situated to hire and pay from their own

income laborers to assist in performing certain work, including workers to perform their duties

while they took time off.

          323.    As a result of the foregoing, the Representative Plaintiffs seek judgment against

Defendants on their own behalf, and on behalf of those New York Class Members similarly

situated who file written consents to joinder in this action, for reimbursement of unlawful

deductions, as well as liquidated damages, and interest, and such other legal and equitable relief

from Defendants’ unlawful and willful conduct as the Court deems just and proper.

                         AS AND FOR A FOURTH CAUSE OF ACTION
                                   Declaratory Judgment
                              (FLSA Class and New York Class)

          324.    Plaintiffs, for themselves and on behalf of the FLSA Class and New York Class,

repeat, re-allege and incorporate by reference the prior allegations of this complaint as if fully

alleged herein.

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        325.    This action provides a ripe and justiciable case or controversy.

        326.    It is just and equitable that the Court declares the rights and other legal

relationships of the parties.

        327.    Plaintiffs, the FLSA Class and New York Class are entitled a declaration that

defendants acts are in violation of the FLSA and NYLL.

                    AS AND FOR A FIFTH CAUSE OF ACTION
          NYLL Wage Theft Prevention Act – Failure to Provide Wage Statements
                                  (New York Class)

        328.    Plaintiffs, on behalf of themselves and the New York Class members, repeat and

re-allege and incorporate each and every allegation of the preceding paragraphs, with the same

force and effect as though fully set forth herein.

        329.    The NYLL and Wage Theft Prevention Act (“WTPA”) require employers to

provide employees with an accurate wage statement each time they are paid.

        330.    Throughout Plaintiffs’ employment with Defendants, Defendants willfully failed

to provide Plaintiffs and the New York Class with wage statements at the end of every pay

period that correctly identified the name of the employer; address of employer; rates of pay or

basis thereof; regular hourly rate; whether paid by the hour, shift, day, week, salary, piece,

commission, or other; number of overtime hours worked; gross wages; deductions; allowances, if

any, claimed as part of the minimum wage; net wages; and such other information as required by

NYLL § 195(3).

        331.    Defendants had a pattern, policy and practice of violating NYLL § 195(3) by

issuing pay statements that contained none of the foregoing information and, instead, merely set

forth the name of an entity (StaffPro, Inc.) that was not an employer.

        332.    Due to Defendants’ violations of the NYLL, Plaintiffs and the New York Class

are entitled to recover from Defendants per employee liquidated damages of $250.00 per work

day that the violations occurred, or continue to occur, up to $5,000.00, together with costs,


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reasonable attorneys’ fees, pre-judgment and post-judgment interest, and injunctive and

declaratory relief, pursuant to the NYLL § 198(1-d).

                       AS AND FOR A SIXTH CAUSE OF ACTION
               NYLL Wage Theft Prevention Act – Failure to Provide Wage Notices
                                    (New York Class)

       333.       Plaintiffs, for themselves and on behalf of the FLSA Class and New York Class,

repeat, re-allege and incorporate by reference the prior allegations of this complaint as if fully

alleged herein.

       334.       The NYLL and WTPA, as well as the NYLL’s interpretative regulations, such as

but not limited to 12 N.Y.C.R.R. Part 141, require employers to provide all employees with a

written notice of wage rates at the time of hire and whenever there is a change to an employee’s

rate of pay.

       335.       From its enactment on April 9, 2011, the Wage Theft Prevention Act also

required employers to provide an annual written notice of wages to be distributed on or before

February 1 of each year of employment (later amended to be distributed “upon hiring” and not

annually) and to provide to employees, a written notice in English and Spanish (Plaintiff’s

primary language) setting forth the employee’s rates of pay and basis thereof; the name of the

employer; physical address of the employer’s business; names used by the employer; and other

legally-mandated disclosures.

       336.       In violation of NYLL § 191, Defendants failed to furnish Plaintiffs, at the time of

hiring (and annually for those years prior to the amendment) or whenever there was a change to

their rate of pay, with wage notices containing the rate or rates of pay and basis thereof; whether

paid by the hour, shift, day, week, salary, piece, commission, or other; allowances, if any,

claimed as part of the minimum wage, including tip, meal, or lodging allowances; the regular pay

day designated by the employer in accordance with NYLL § 191; the name of the employer; any

“doing business as” names used by the employer; the physical address of the employer’s main


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office or principal place of business, and a mailing address if different; the telephone number of

the employer; and anything otherwise required by law; in violation of the NYLL § 195(1).

       337.    Due to Defendants’ violation of NYLL § 195(1), Plaintiffs are entitled to recover

from Defendants liquidated damages per employee: (a) for the time period commencing six years

before the filing of this Complaint, through February 27, 2015, the sum $50 per work week, up

to $2,500; and (b) from February 27, 2015 through the resolution of this case, $50.00 per work

day, up to $5,000.00, together with reasonable attorneys’ fees, and costs of disbursements of the

action, pursuant to the NYLL § 198(1-b).

                                       RELIEF SOUGHT

       WHEREFORE, the Plaintiffs, on behalf of themselves and the FLSA Class and the New

York Class, respectfully request that the Court grant the following relief:

       1.      Designation of this action as a collective action on behalf of the FLSA Class

members and ordering the prompt issuance of notice pursuant to 29 U.S.C. § 216(b) to all

similarly situated members of an FLSA Class, apprising them of the pendency of this action,

permitting them to assert timely FLSA claims in this action by filing individual Consents to Sue

pursuant to 28 U.S.C. § 216(b) and appointing Plaintiffs and their counsel to represent the FLSA

Class Members;

       2.        Certification of this action as a class action pursuant to Fed. R. Civ. P. 23(a),

(b)(2) and (b)(3) on behalf of the New York Class members and appointing Plaintiffs and their

counsel to represent the class;

       3.      An order tolling the statute of limitations;

       4.      That the Court declare, adjudge and decree that Defendants violated the minimum

wage provisions of the FLSA as to the Representative Plaintiffs, the FLSA Class and the New

York Class;




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         5.     That the Court declare, adjudge and decree that Defendants violated the overtime

provisions of the FLSA as to the Representative Plaintiffs, the FLSA Class and the New York

Class;

         6.     That the Court declare, adjudge and decree that Defendants willfully violated their

legal duties to pay minimum wages and overtime compensation as required under the FLSA and

NYLL;

         7.     That the Court declare, adjudge and decree that the Representative Plaintiffs and

the FLSA Class Members were at all times relevant hereto, and are, entitled to be paid (a)

minimum wages; (b) overtime for work beyond 40 hours in a week; and (c) remuneration for

unlawful deductions; and that the amounts to which Representative Plaintiffs, the FLSA Class

and the New York Class are entitled is to be doubled as liquidated damages and awarded thereto;

         8.     That the Court make an award to the Representative Plaintiffs, the FLSA Class

and the New York Class of damages and/or restitution for the amount of unpaid compensation,

unpaid overtime compensation, including interest thereon, and statutory penalties in an amount

to be proven at trial;

         9.     That the Court make an award to the Representative Plaintiffs and the New York

Class of reimbursement for all unlawful deductions;

         10.    That the Defendants be held jointly and severally liable for compensatory

damages (including extreme emotional distress) and punitive damages for Plaintiffs Contrera and

Lopez under NYLL Article 7, Section 215(2).

         11.    For all other Orders, findings and determinations identified and sought in this

Complaint;

         12.    For pre-judgment and post-judgment interest on the amount of any and all

economic losses, at the prevailing legal rate, under the NYLL and CPLR.




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       13.     For reasonable attorneys’ fees and expenses of this action, pursuant to 29 U.S.C. §

216(b), New York Labor Law and as otherwise provided by law;

       14.     Declaring that Defendants violated the notices and record keeping provisions of

NYLL and WTPA;

       15.     An award of statutory damages for Defendants’ failure to provide Plaintiffs with

accurate wage statements pursuant to NYLL § 198(1-d);

       16.     An award of statutory damages for Defendants’ failure to provide Plaintiffs with

proper wage notices pursuant to NYLL § 198(1-b);

       17.     A permanent injunction requiring Defendants to pay all statutorily required wages

pursuant to the FLSA and NYLL; and

       18.     Such other relief as this Court deems just and proper.



                                        JURY DEMAND

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs demand a trial

by jury on all questions of fact raised by the complaint.


Dated: May 23, 2016                              RAPAPORT LAW FIRM, PLLC




                                           By: ____________/s/_______________
                                               Marc A. Rapaport, Esq.
                                               Attorney for the Representative Plaintiffs
                                               and the Plaintiff Classes
                                               One Penn Plaza
                                               250 West 34th Street, Suite 2430
                                               New York, NY 10119
                                               Ph: (212) 382-1600




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                                                       Schedule A
   This summary is based on, inter alia, the NYC Department of Housing Preservation & Development online resource
HPDOnline, Automated City Register Information System (ACRIS) for building-specific information, and NYS Department of
                                          State Corporation and Entity Database.



      Address of         Titleholder's Name        Titleholder's Principal,   Managing Agent's       Ownership
      Property           and Address               Member of Authorized       Name and Address       period of
                                                   Signatory                                         Defendants

1     102-104 Convent    102 CONVENT OWNER         Joel Goldstein             GALIL MANAGEMENT       1/30/2015-
      Ave, New York      LLC                                                  1465A FLATBUSH         Present
      County             1465A FLATBUSH AVE                                   AVE
                         BROOKLYN, NY 11210                                   BROOKLYN, NY 11210
2     105 WEST 113TH     105-109 WEST 113 LLC      Joel Goldstein             E&M BRONX ASSOC.       11/14/2013-
      ST, New York       1465A FLATBUSH AVE                                   1465A FLATBUSH         Present
      County             BROOKLYN, NY 11210                                   AVE
                                                                              BROOKLYN, NY 11210
3     107 WEST 113TH     107 WEST 113 LLC          Irving Langer              E&M BRONX ASSOC.       11/14/2013-
      ST, New York       1465A FLATBUSH AVE        Joel Goldstein             975 WALTON AVE         Present
      County             BROOKLYN, NY 11210        Manhattanville Mezz        BRONX, NY 10452
                                                   LLC
4     1070 Ogden,        1070 OGDEN, LLC           Daniel Goldstein           E&M BRONX ASSOC.       7/21/2014-
      Bronx County       1465A FLATBUSH AVE                                   1465A FLATBUSH         11/2/2015
                         BROOKLYN, NY 11210                                   AVE BROOKLYN, NY
                                                                              11210
5     109 W 113th St,    109 WEST 113 LLC          Joel Goldstein             E&M BRONX ASSOC.       11/14/2013-
      New York County    1465A FLATBUSH AVE        Irving Langer              975 WALTON AVE         Present
                         BROOKLYN, NY 11210        Manhattanville Mezz        BRONX, NY 10452
                                                   LLC

6     11 W 172nd St,     11 WEST 172 STREET        Scott Katz                 E&M BRONX ASSOC.       11/21/2012-
      Bronx County       OWNER LLC                                            1465A FLATBUSH         11/19/2014
                         1465A FLATBUSH AVE                                   AVE BROOKLYN, NY
                         BROOKLYN, NY 11210                                   11210
7     110 WEST 116TH,    110 W 116TH LLC           Joel Goldstein             E&M BRONX ASSOC.       8/11/2014-
      New York County    1465A FLATBUSH AVE                                   1465A FLATBUSH         Present
                         BROOKLYN, NY 11210                                   AVE
                                                                              BROOKLYN, NY 11210
8     113 WEST 113TH     113-115 WEST 113 LLC      Irving Langer              E&M BRONX ASSOC.       11/14/2013-
      ST, New York       1465A FLATBUSH AVE        Joel Goldstein             975 WALTON AVE         Present
      County             BROOKLYN, NY 11210        Manhattanville Mezz        BRONX, NY 10452
                                                   LLC
9     115 W 113th St,    115 WEST 113 LLC          Joel Goldstein             E&M BRONX ASSOC.       11/14/2013-
      New York County    1465A FLATBUSH AVE        Irving Langer              975 WALTON AVE         Present
                         BROOKLYN, NY 11210        Manhattanville Mezz        BRONX, NY 10452
                                                   LLC
10    121 WEST 116TH     117-129 W 116 LLC         Irving Langer              E&M BRONX ASSOC.       11/14/2013-
      ST, New York       1465A FLATBUSH AVE                                   975 WALTON AVE         Present
      County             BROOKLYN, NY 11210                                   BRONX, NY 10452




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                   th
11    117 West 116       117-129 WEST 116 LLC   Irving Langer          E&M BRONX ASSOC.     11/14/2013-
      Street, New York   1465A FLATBUSH AVE     Manhattanville Mezz    975 WALTON AVE       Present
      County             BROOKLYN, NY 11210     LLC                    BRONX, NY 10452

12    125 WEST 116TH     117-129 WEST 116 LLC   Irving Langer          E&M BRONX ASSOC.     11/14/2013-
      ST, New York       1465A FLATBUSH AVE     Joel Goldstein         975 WALTON AVE       Present
      County             BROOKLYN, NY 11210     Manhattanville Mezz    BRONX, NY 10452
                                                LLC

13    129 W 116th St,    117-129 WEST 116       Irving                 E&M BRONX            11/14/2013-
      New York County    LLC1465A FLATBUSH      LangerManhattanville   ASSOC.975 WALTON     Present
                         AVEBROOKLYN, NY        Mezz LLC               AVE BRONX, NY
                         11210                                         10452
14    120 W 112th St,    120-129 WEST 112 LLC   Irving Langer          E&M BRONX ASSOC.     11/14/2013-
      New York County    1465A FLATBUSH AVE     Manhattanville Mezz    975 WALTON AVE       Present
                         BROOKLYN, NY 11210     LLC                    BRONX, NY 10452

15    124 WEST 112       124 WEST 112 STREET    Irving Langer          E&M BRONX ASSOC.     3/15/2006-
      STREET, New York   LLC                    Manhattanville Mezz    975 WALTON AVE       Present
      County             1465A FLATBUSH AVE     LLC                    BRONX, NY 10452
                         BROOKLYN, NY 11210
16    126 WEST 112       126 WEST 112 LLC       Irving Langer          MANHATTAN VALLEY     11/14/2013-
      STREET, New York   1465A FLATBUSH AVE     Joel Goldstein         WEST LLC             Present
      County             BROOKLYN, NY 11210     Manhattanville Mezz    975 WALTON AVE
                                                LLC                    BRONX, NY 10452

17    131 West 112th     131-133 WEST 112 LLC   Irving Langer          E&M BRONX ASSOC.     11/14/2013-
      St, New York       1465A FLATBUSH AVE     Manhattanville Mezz    975 WALTON AVE       Present
      County             BROOKLYN, NY 11210     LLC                    BRONX, NY 10452

18    133 W 112th St,    133 WEST 112 STREET    Irving Langer          E&M BRONX ASSOC.     11/14/2013-
      New York County    LLC                    Manhattanville Mezz    975 WALTON AVE       Present
                         1465A FLATBUSH AVE     LLC                    BRONX, NY 10452
                         BROOKLYN, NY 11210
19    133 WEST 116TH     133-135 WEST 116 LLC   Joel Goldstein         E&M BRONX ASSOC.     11/14/2013-
      ST, New York       1465A FLATBUSH AVE     Manhattanville Mezz    1465A FLATBUSH       Present
      County             BROOKLYN, NY 11210     LLC                    AVE
                                                                       BROOKLYN, NY 11210
20    135 W 116th St,    133-135 WEST 116 LLC   Irving Langer          E&M BRONX ASSOC.     11/14/2013-
      New York County    1465A FLATBUSH AVE     Manhattanville Mezz    975 WALTON AVE       Present
                         BROOKLYN, NY 11210     LLC                    BRONX, NY 10452
21    138 W 112th St,    138 WEST 112 STREET    Joel Goldstein         E&M BRONX ASSOC.     11/14/2013-
      New York County    LLC                    Manhattanville Mezz    1465A FLATBUSH       Present
                         1465A FLATBUSH AVE     LLC                    AVE
                         BROOKLYN, NY 11210                            BROOKLYN, NY 11210
22    140 W 113th St,    141 WEST 113 LLC       Joel Goldstein         E&M BRONX ASSOC.     11/14/2013-
      New York County    1465A FLATBUSH AVE     Manhattanville Mezz    1465A FLATBUSH       Present
                         BROOKLYN, NY 11210     LLC                    AVE
                                                                       BROOKLYN, NY 11210
23    141 WEST 116 ST,   141 WEST 116 LLC       Joel Goldstein         E&M BRONX ASSOC.     11/14/2013-
      New York County    1465A FLATBUSH AVE     Manhattanville Mezz    1465A FLATBUSH       Present
                         BROOKLYN, NY 11210     LLC                    AVE
                                                                       BROOKLYN, NY 11210


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24    125 WEST 116TH      117-129 WEST 116 LLC   Irving Langer           E&M BRONX ASSOC.     11/14/2013-
      ST, New York        1465A FLATBUSH AVE     Joel Goldstein          975 WALTON AVE       Present
      County              BROOKLYN, NY 11210                             BRONX, NY 10452
25    17 Saint Nicholas   17-25 NICHOLAS LLC     Irving Langer           E&M BRONX ASSOC.     11/14/2013-
      Ave , New York      1465A FLATBUSH AVE     Manhattanville Mezz     975 WALTON AVE       Present
      County              BROOKLYN, NY 11210     LLC                     BRONX, NY 10452

26    143 W 113th St,     143 WEST 113 STREET    Joel Goldstein          E&M BRONX ASSOC.     11/14/2013-
      New York County     LLC                    Manhattanville Mezz     1465A FLATBUSH       Present
                          1465A FLATBUSH AVE     LLC                     AVE
                          BROOKLYN, NY 11210                             BROOKLYN, NY 11210
27    145 EDGECOMBE       145-153 EDGECOMBE      Irving                  E&M BRONX            11/14/2013-
      AVE, New York       HOLDINGS LLC1465A      LangerManhattanville    ASSOC.975 WALTON     Present
      County              FLATBUSH               Mezz LLC                AVE BRONX, NY
                          AVEBROOKLYN, NY                                10452
                          11210
28    149 EDGECOMBE       145-153 EDGECOMBE      Irving Langer           E&M BRONX ASSOC.     11/14/2013-
      AVE, New York       HOLDINGS LLC           Manhattanville Mezz     975 WALTON AVE       Present
      County              1465A FLATBUSH AVE     LLC                     BRONX, NY 10452
                          BROOKLYN, NY 11210
29    153 Edgecombe       145-153 EDGECOMBE      Irving Langer           E&M BRONX ASSOC.     11/14/2013-
      Ave, New York       HOLDINGS LLC           Manhattanville Mezz     975 WALTON AVE       Present
      County              1465A FLATBUSH AVE     LLC                     BRONX, NY 10452
                          BROOKLYN, NY 11210
30    146 W 111th St,     146 WEST 111 STREET    Irving Langer           E&M BRONX ASSOC.     11/14/2013-
      New York County     LLC                    Manhattanville Mezz     1465A FLATBUSH       Present
                          1465A FLATBUSH AVE     LLC                     AVE
                          BROOKLYN, NY 11210                             BROOKLYN, NY 11210
31    151 W 228 St,       151 W 228 ST OWNER     Scott Katz       Joel   E&M BRONX ASSOC.     11/21/2012-
      New York County     LLC                    Goldstein               1465A FLATBUSH       11/19/2014
                          1465A FLATBUSH AVE                             AVE BROOKLYN, NY
                          BROOKLYN, NY 11210                             11210
32    153-157 LENOX       153 LENOX HOLDING      Joel Goldstein          E&M BRONX ASSOC.     11/14/2013-
      AVE AKA 100         LLC                    Manhattanville Mezz     1465A FLATBUSH       Present
      WEST 118TH ST,      1465A FLATBUSH AVE     LLC                     AVE
      New York County     BROOKLYN, NY 11210                             BROOKLYN, NY 11210

33    159 W 228 St/161    159 W 228 ST OWNER     Scott Katz              E&M BRONX ASSOC.     11/21/2012-
      WEST 228            LLC                                            1465A FLATBUSH       11/19/2014
      STREET, New York    1465A FLATBUSH AVE                             AVE BROOKLYN, NY
      County              BROOKLYN, NY 11210                             11210

34    375 W 126th         161-171                Irving Langer           E&M BRONX ASSOC.     11/14/2013-
      St/161              MORNINGSIDE LLC        Manhattanville Mezz     975 WALTON AVE       Present
      MORNINGSIDE         1465A FLATBUSH AVE     LLC                     BRONX, NY 10452
      AVENUE, New         BROOKLYN, NY 11210
      York County
35    1631 Grand Ave,     1631 GRAND AVE         Scott Katz              E&M BRONX ASSOC.     11/21/2012-
      Bronx County        OWNER LLC                                      1465A FLATBUSH       11/19/2014
                          1465A FLATBUSH AVE                             AVE BROOKLYN, NY
                          BROOKLYN, NY 11210                             11210




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36    164 W 141st St,     164-172 WEST 141        Irving Langer         E&M BRONX ASSOC.     11/14/2013-
      New York County     HOLDINGS LLC            Manhattanville Mezz   1465A FLATBUSH       Present
                          1465A FLATBUSH AVE      LLC                   AVE
                          BROOKLYN, NY 11210                            BROOKLYN, NY 11210
37    17 Saint Nicholas   17-25 ST NICHOLAS LLC   Joel Goldstein        E&M BRONX ASSOC.     11/14/2013-
      Ave, New York       1465A FLATBUSH AVE      Manhattanville Mezz   1465A FLATBUSH       Present
      County              BROOKLYN, NY 11210      LLC                   AVE
                                                                        BROOKLYN, NY 11210
38    1730                1728-1730               Irving Langer         E&M BRONX ASSOC.     11/14/2013-
      AMSTERDAM           AMSTERDAM AVE LLC       Thomas Walsh          975 WALTON AVE       Present
      AVENUE, New         1465A FLATBUSH AVE      Manhattanville Mezz   BRONX, NY 10452
      York County         BROOKLYN, NY 11210      LLC
39    1728 Amsterdam      1728-1730               Thomas Walsh          E&M BRONX ASSOC.     11/14/2013-
      Ave, New York       AMSTERDAM AVENUE        Manhattanville Mezz   975 WALTON AVE       Present
      County              LLC                     LLC                   BRONX, NY 10452
                          1465A FLATBUSH AVE
                          BROOKLYN, NY 11210
40    1786 Topping        1786 TOPPING AVE        Scott Katz            E&M BRONX ASSOC.     11/21/2012-
      Ave, Bronx          OWNER LLC1465A                                1465A FLATBUSH       11/19/2014
      County              FLATBUSH                                      AVE BROOKLYN, NY
                          AVEBROOKLYN, NY                               11210
                          11210
41    1829 Adam           1829-1835 7 LLC         Irving Langer         E&M BRONX ASSOC.     11/14/2013-
      Clayton Powell Jr   1465A FLATBUSH AVE      Manhattanville Mezz   975 WALTON AVE       Present
      Blvd, New York      BROOKLYN, NY 11210      LLC                   BRONX, NY 10452
      County
42    2006 Adam           2006 ACP BLVD           Joel Goldstein        E&M BRONX ASSOC.     11/14/2013-
      Clayton Powell Jr   PORTFOLIO LLC                                 1465A FLATBUSH       Present
      Blvd, New York      1465A FLATBUSH AVE                            AVE
      County              BROOKLYN, NY 11210                            BROOKLYN, NY 11210

43    2059 Frederick      2059 8 LLC              Scott Katz            E&M BRONX ASSOC.     11/14/2013-
      Douglass Blvd,      1465A FLATBUSH AVE      Manhattanville Mezz   1465A FLATBUSH       11/10/2014
      New York County     BROOKLYN, NY 11210      LLC                   AVE BROOKLYN, NY
                                                                        11210
44    2076 Creston Ave,   2076-78 CRESTON AVE     Scott Katz            E&M BRONX ASSOC.     11/21/2012-
      Bronx County        OWNER LLC                                     1465A FLATBUSH       11/19/2014
                          1465A FLATBUSH AVE                            AVE BROOKLYN, NY
                          BROOKLYN, NY 11210                            11210
45    2238 Morris Ave,    2238 MORRIS AVE         Scott Katz            E&M BRONX ASSOC.     11/21/2012-
      Bronx County        OWNER LLC                                     1465A FLATBUSH       11/19/2014
                          1465A FLATBUSH AVE                            AVE BROOKLYN, NY
                          BROOKLYN, NY 11210                            11210
46    226 W Tremont       226 W TREMONT AVE       Scott Katz            E&M BRONX ASSOC.     11/21/2012-
      Ave, Bronx          OWNER LLC                                     1465A FLATBUSH       11/19/2014
      County              1465A FLATBUSH AVE                            AVE BROOKLYN, NY
                          BROOKLYN, NY 11210                            11210
47    2291 University     2291 UNIVERSITY AVE     Scott Katz            E&M BRONX ASSOC.     11/21/2012-
      Ave/ 2291 DR M L    OWNER LLC                                     1465A FLATBUSH       11/19/2014
      KING JR             1465A FLATBUSH AVE                            AVE BROOKLYN, NY
      BOULEVARD,          BROOKLYN, NY 11210                            11210
      Bronx County




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48    230 W 116th St,    230 WEST 116 LLC       Joel Goldstein            E&M BRONX ASSOC.     11/14/2013-
      New York County    1465A FLATBUSH AVE     Manhattanville Mezz       1465A FLATBUSH       Present
                         BROOKLYN, NY 11210     LLC                       AVE
                                                                          BROOKLYN, NY 11210
49    2322 Grand Ave,    2322 GRAND AVE         Scott Katz                E&M BRONX ASSOC.     11/21/2012-
      Bronx County       OWNER LLC                                        1465A FLATBUSH       11/19/2014
                         1465A FLATBUSH AVE                               AVE BROOKLYN, NY
                         BROOKLYN, NY 11210                               11210
50    239 W 116th St,    239 WEST 116 LLC       Joel Goldstein            E&M BRONX ASSOC.     11/14/2013-
      New York County    1465A FLATBUSH AVE     Manhattanville Mezz       1465A FLATBUSH       Present
                         BROOKLYN, NY 11210     LLC                       AVE
                                                                          BROOKLYN, NY 11210
51    243 W 113th St,    241 WEST 113 LLC       Joel Goldstein            E&M BRONX ASSOC.     11/14/2013-
      New York County    1465A FLATBUSH AVE     Manhattanville Mezz       1465A FLATBUSH       Present
                         BROOKLYN, NY 11210     LLC                       AVE
                                                                          BROOKLYN, NY 11210
52    243 W 116th St,    243 WEST 116 LLC       Joel Goldstein            E&M BRONX ASSOC.     11/14/2013-
      New York County    1465A FLATBUSH AVE     Manhattanville Mezz       1465A FLATBUSH       Present
                         BROOKLYN, NY 11210     LLC                       AVE
                                                                          BROOKLYN, NY 11210
53    247 W 116th St,    247-253 WEST 116 LLC   Joel Goldstein            E&M BRONX ASSOC.     11/14/2013-
      New York County    1465A FLATBUSH AVE     Manhattanville Mezz       1465A FLATBUSH       Present
                         BROOKLYN, NY 11210     LLC                       AVE
                                                                          BROOKLYN, NY 11210
54    259 W 116th St,    255 WEST 116           Joel                      E&M BRONX            11/14/2013-
      New York County    LLC1465A FLATBUSH      GoldsteinManhattanville   ASSOC.1465A          Present
                         AVEBROOKLYN, NY        Mezz LLC                  FLATBUSH
                         11210                                            AVEBROOKLYN, NY
                                                                          11210
55    2763 Sedgwick      2755-61 SEDGWICK       Scott Katz                E&M BRONX ASSOC.     11/21/2012-
      Ave, Bronx         AVE OWNER LLC                                    1465A FLATBUSH       11/19/2014
      County             1465A FLATBUSH AVE                               AVE BROOKLYN, NY
                         BROOKLYN, NY 11210                               11210
56    2755 Sedgwick      2755-61 SEDGWICK       Scott Katz                E&M BRONX ASSOC.     11/21/2012-
      Avenue, Bronx      AVE OWNER LLC                                    1465A FLATBUSH       11/19/2014
      County             1465A FLATBUSH AVE                               AVE BROOKLYN, NY
                         BROOKLYN, NY 11210                               11210
57    2925 Grand         2925 GRAND             Scott Katz                E&M BRONX ASSOC.     3/15/2012-
      Concourse, Bronx   CONCOURSE OWNER                                  1465A FLATBUSH       7/24/2013
      County             LLC                                              AVE BROOKLYN, NY
                         1465A FLATBUSH AVE                               11210
                         BROOKLYN, NY 11210
58    2933 Grand         2933 GRAND             Scott Katz                E&M BRONX ASSOC.     3/15/2012-
      Concourse, Bronx   CONCOURSE OWNER                                  1465A FLATBUSH       7/24/2013
      County             LLC                                              AVE BROOKLYN, NY
                         1465A FLATBUSH AVE                               11210
                         BROOKLYN, NY 11210
59    2968 Perry         2968 PERRY AVE         Scott Katz                E&M BRONX ASSOC.     3/15/2012-
      Avenue, Bronx      OWNER LLC                                        1465A FLATBUSH       6/5/2013
      County             1465A FLATBUSH AVE                               AVE BROOKLYN, NY
                         BROOKLYN, NY 11210                               11210
60    2107 Frederick     300 WEST 114-2107 8    Irving Langer             E&M BRONX ASSOC.     11/14/2013-
      Douglass Blvd,     LLC                    Ephraim Weiss             975 WALTON AVE       Present
      New York County    1465A FLATBUSH AVE     Manhattanville Mezz       BRONX, NY 10452
                         BROOKLYN, NY 11210     LLC

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61    301 W 111th St/   301 WEST 111-2051 8    Scott Katz                E&M BRONX ASSOC.     11/14/2013-
      2049 FREDERICK    LLC                                              1465A FLATBUSH       11/10/2014
      DOUGLASS          1465A FLATBUSH AVE                               AVE BROOKLYN, NY
      BOULEVARD, New    BROOKLYN, NY 11210                               11210
      York County



62    302 W 112th St,   302 WEST 112 STREET    Joel Goldstein            E&M BRONX ASSOC.     11/14/2013-
      New York County   LLC                    Manhattanville Mezz       975 WALTON AVE       Present
                        1465A FLATBUSH AVE     LLC                       BRONX, NY 10452
                        BROOKLYN, NY 11210
63    303 WEST 111TH    303 WEST 111 LLC       Joel Goldstein            E&M BRONX ASSOC.     11/14/2013-
      ST, New York      1465A FLATBUSH AVE     Manhattanville Mezz       1465A FLATBUSH       Present
      County            BROOKLYN, NY 11210     LLC                       AVE
                                                                         BROOKLYN, NY 11210
64    301 W 113th St/   303-309 WEST 113 LLC   Joel Goldstein            E&M BRONX ASSOC.     11/14/2013-
      2095 FREDERICK    1465A FLATBUSH AVE     Manhattanville Mezz       1465A FLATBUSH       Present
      DOUGLASS          BROOKLYN, NY 11210     LLC                       AVE
      BOULEVARD, New                                                     BROOKLYN, NY 11210
      York County

65    303 W 113th St,   303-309 WEST 113 LLC   Scott Katz                E&M BRONX ASSOC.     11/14/2013-
      New York County   1465A FLATBUSH AVE                               1465A FLATBUSH       Present
                        BROOKLYN, NY 11210                               AVE BROOKLYN, NY
                                                                         11210
66    305 W 111th St,   305 WEST 111 LLC       Joel Goldstein            E&M BRONX ASSOC.     11/14/2013-
      New York County   1465A FLATBUSH AVE     Manhattanville Mezz       1465A FLATBUSH       Present
                        BROOKLYN, NY 11210     LLC                       AVE
                                                                         BROOKLYN, NY 11210
67    305 WEST 113TH    305-309 WEST 113       Irving LangerJoel         E&M BRONX            11/14/2013-
      ST, New York      LLC1465A FLATBUSH      GoldsteinManhattanville   ASSOC.975 WALTON     Present
      County            AVEBROOKLYN, NY        Mezz LLC                  AVE BRONX, NY
                        11210                                            10452
68    309 W 113th St,   305-309 WEST 113 LLC   Irving Langer             E&M BRONX ASSOC.     11/14/2013-
      New York County   1465A FLATBUSH AVE     Manhattanville Mezz       975 WALTON AVE       Present
                        BROOKLYN, NY 11210     LLC                       BRONX, NY 10452

69    306 W 112th St,   306-310 WEST 112 LLC   Joel Goldstein            E&M BRONX ASSOC.     11/14/2013-
      New York County   1465A FLATBUSH AVE     Manhattanville Mezz       1465A FLATBUSH       Present
                        BROOKLYN, NY 11210     LLC                       AVE
                                                                         BROOKLYN, NY 11210

70    307 WEST 113TH    307 WEST 113 LLC       Irving Langer             E & M BRONX          11/14/2013-
      ST, New York      1465A FLATBUSH AVE     Manhattanville Mezz       975 WALTON AVE       Present
      County            BROOKLYN, NY 11210     LLC                       BRONX, NY 10452

71    310 WEST 112TH    310 WEST 112TH         Joel Goldstein            E&M BRONX ASSOC.     11/14/2013-
      ST, New York      STREET                 Manhattanville Mezz       1465A FLATBUSH       Present
      County            1465A FLATBUSH AVE     LLC                       AVE
                        BROOKLYN, NY 11210                               BROOKLYN, NY 11210
72    311 W 111th St,   311 WEST 111 STREET    Irving Langer             E&M BRONX ASSOC.     11/14/2013-
      New York County   LLC                    Manhattanville Mezz       975 WALTON AVE       Present
                        1465A FLATBUSH AVE     LLC                       BRONX, NY 10452
                        BROOKLYN, NY 11210


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73    337 W 138th       337 WEST 138           Irving Langer         E&M BRONX ASSOC.     11/14/2013-
      St/560 ST         HOLDINGS LLC           Manhattanville Mezz   975 WALTON AVE       Present
      NICHOLAS          1465A FLATBUSH AVE     LLC                   BRONX, NY 10452
      AVENUE, New       BROOKLYN, NY 11210
      York County
74    345 Manhattan     345 MANHATTAN          Irving Langer         E&M BRONX            11/14/2013-
      Ave, New York     HOLDINGS LLC           Manhattanville Mezz   ASSOCIATES           Present
      County            1465A FLATBUSH AVE     LLC                   1465A FLATBUSH
                        BROOKLYN, NY 11210                           AVE
                                                                     BROOKLYN, NY 11210
75    35 Morningside    35 MORNINGSIDE         Irving Langer         E&M BRONX ASSOC.     11/14/2013-
      Ave, New York     HOLDINGS LLC           Manhattanville Mezz   975 WALTON AVE       Present
      County            1465A FLATBUSH AVE     LLC                   BRONX, NY 10452
                        BROOKLYN, NY 11210
76    350 W 115th       350 WEST 115 LLC       Irving Langer         E&M BRONX ASSOC.     11/14/2013-
      St/349            1465A FLATBUSH AVE     Manhattanville Mezz   1465A FLATBUSH       Present
      MANHATTAN         BROOKLYN, NY 11210     LLC                   AVE
      AVENUE, New                                                    BROOKLYN, NY 11210
      York County

77    370 W 127th St,   370-372 WEST 127 LLC   Irving Langer         E&M BRONX ASSOC.     11/14/2013-
      New York County   1465A FLATBUSH AVE     Manhattanville Mezz   1465A FLATBUSH       Present
                        BROOKLYN, NY 11210     LLC                   AVE
                                                                     BROOKLYN, NY 11210
78    373 W 126th St,   373 WEST 126 LLC       Joel Goldstein        E&M BRONX ASSOC.     11/14/2013-
      New York County   1465A FLATBUSH AVE     Manhattanville Mezz   975 WALTON AVE       Present
                        BROOKLYN, NY 11210     LLC                   BRONX, NY 10452

79    175 Morningside   376 WEST 127 LLC       Irving Langer         E&M BRONX ASSOC.     11/14/2013-
      Ave, New York     1465A FLATBUSH AVE     Manhattanville Mezz   1465A FLATBUSH       Present
      County            BROOKLYN, NY 11210     LLC                   AVE
                                                                     BROOKLYN, NY 11210

80    41 W 184th St     41 W 184 ST OWNER      Scott Katz            E&M BRONX ASSOC.     11/21/2012-
                        LLC1465A FLATBUSH                            1465A FLATBUSH       11/19/2014
                        AVEBROOKLYN, NY                              AVE BROOKLYN, NY
                        11210                                        11210
81    510 W 146th St,   510 WEST 146 LLC       Joel Goldstein        E&M BRONX ASSOC.     11/14/2013-
      New York County   1465A FLATBUSH AVE     Irving Langer         1465A FLATBUSH       Present
                        BROOKLYN, NY 11210     Manhattanville Mezz   AVE
                                               LLC                   BROOKLYN, NY 11210

82    521 W 156th St    521-523 W 156 ST       Scott Katz            E&M BRONX ASSOC.     6/24/2013-
      523, New York     OWNERS LLC                                   1465A FLATBUSH       3/24/2015
      County            1465A FLATBUSH AVE                           AVE BROOKLYN, NY
                        BROOKLYN, NY 11210                           11210
83    557 W 149th St    557-561 WEST 149       Joel Goldstein        E&M BRONX ASSOC.     11/14/2013-
      561, New York     HOLDINGS LLC           Irving Langer         975 WALTON AVE       Present
      County            1465A FLATBUSH AVE     Manhattanville Mezz   BRONX, NY 10452
                        BROOKLYN, NY 11210     LLC




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84    6 Morningside        6 MORNINGSIDE LLC     Irving Langer             E&M BRONX            11/14/2013-
      Ave, New York        1465A FLATBUSH AVE    Manhattanville Mezz       ASSOCIATES           Present
      County               BROOKLYN, NY 11210    LLC                       1465A FLATBUSH
                                                                           AVE
                                                                           BROOKLYN, NY 11210
85    609-619 West         609-619 WEST 135      Scott Katz                E&M BRONX ASSOC.     2/28/2013-
      135th Street, New    STREET OWNER LLC                                1465A FLATBUSH       9/10/2015
      York County          1465A FLATBUSH AVE                              AVE BROOKLYN, NY
                           BROOKLYN, NY 11210                              11210



86    610 W 141st St,      610-620 WEST 141      Joel Goldstein            E&M BRONX ASSOC.     11/14/2013-
      New York County      HOLDINGS LLC          Irving Langer             975 WALTON AVE       Present
                           1465A FLATBUSH AVE    Manhattanville Mezz       BRONX, NY 10452
                           BROOKLYN, NY 11210    LLC

87    617 W 143rd St,      617 WEST 143          Joel Goldstein            E&M BRONX ASSOC.     11/14/2013-
      New York County      HOLDINGS LLC          Irving Langer             975 WALTON AVE       Present
                           1465A FLATBUSH AVE    Manhattanville Mezz       BRONX, NY 10452
                           BROOKLYN, NY 11210    LLC

88    638 W 160th St,      638 WEST 160          Irving Langer             E&M BRONX ASSOC.     11/14/2013-
      New York County      HOLDINGS LLC          Manhattanville Mezz       1465A FLATBUSH       Present
                           1465A FLATBUSH AVE    LLC                       AVE
                           BROOKLYN, NY 11210                              BROOKLYN, NY 11210
89    655 West 160th       655 WEST 160          Irving Langer             E&M BRONX            11/14/2013-
      St, New York         HOLDINGS LLC          Manhattanville Mezz       ASSOCIATES           Present
      County               1465A FLATBUSH AVE    LLC                       1465A FLATBUSH
                           BROOKLYN, NY 11210                              AVE
                                                                           BROOKLYN, NY 11210
90    65 Malcolm X         65-67 LENOX LLC       Joel Goldstein            E&M BRONX ASSOC.     11/14/2013-
      Blvd/65 LENOX        1465A FLATBUSH AVE    Irving Langer             1465A FLATBUSH       Present
      AVENUE, New          BROOKLYN, NY 11210    Manhattanville Mezz       AVE
      York County                                LLC                       BROOKLYN, NY 11210

91    67 LENOX AVE,        67 LENOX LLC          Irving Langer             E&M BRONX ASSOC.     11/14/2013-
      New York County      1465A FLATBUSH AVE    Manhattanville Mezz       1465A FLATBUSH       Present
                           BROOKLYN, NY 11210    LLC                       AVE
                                                                           +C2+D92:D93
92    707 Saint Nicholas   707 ST NICHOLAS       Joel                      E&M BRONX            11/14/2013-
      Ave, New York        LLC1465A FLATBUSH     GoldsteinManhattanville   ASSOC.1465A          Present
      County               AVEBROOKLYN, NY       Mezz LLC                  FLATBUSH
                           11210                                           AVEBROOKLYN, NY
                                                                           11210
93    768 Saint Nicholas   707 ST NICHOLAS LLC   Joel Goldstein            E&M BRONX ASSOC.     11/14/2013-
      Ave 770/331          1465A FLATBUSH AVE    Irving Langer             1465A FLATBUSH       Present
      EDGECOMBE            BROOKLYN, NY 11210    Manhattanville Mezz       AVE
      AVENUE, New                                LLC                       BROOKLYN, NY 11210
      York County




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94    2302 ADAM C         ACP BLVD PORTFOLIO   Joel Goldstein   GALIL MANAGEMENT     9/22/2014-
      POWELL              LLC                                   LLC                  Present
      BOULEVARD/2302      1465A FLATBUSH AVE                    1465A FLATBUSH
      Seventh Avenue,     BROOKLYN, NY 11210                    AVE
      New York County                                           BROOKLYN, NY 11210


95    204 W 133rd St,     ACP BLVD PORTFOLIO   Joel Goldstein   GALIL MANAGEMENT     9/22/2014-
      New York County     LLC                                   LLC                  Present
                          1465A FLATBUSH AVE                    1465A FLATBUSH
                          BROOKLYN, NY 11210                    AVE
                                                                BROOKLYN, NY 11210
96    2232 Adam           ACP BLVD PORTFOLIO   Joel Goldstein   GALIL MANAGEMENT     9/22/2014-
      Clayton Powell Jr   LLC                                   LLC                  Present
      Blvd 2240, New      1465A FLATBUSH AVE                    1465A FLATBUSH
      York County         BROOKLYN, NY 11210                    AVE
                                                                BROOKLYN, NY 11210
97    2247 Adam           ACP BLVD PORTFOLIO   Joel Goldstein   GALIL MANAGEMENT     9/22/2014-
      Clayton Powell Jr   LLC                                   LLC                  Present
      Blvd, New York      1465A FLATBUSH AVE                    1465A FLATBUSH
      County              BROOKLYN, NY 11210                    AVE
                                                                BROOKLYN, NY 11210
98    2252 Adam           ACP BLVD PORTFOLIO   Joel Goldstein   GALIL MANAGEMENT     9/22/2014-
      Clayton Powell Jr   LLC                                   LLC                  Present
      Blvd, New York      1465A FLATBUSH AVE                    1465A FLATBUSH
      County              BROOKLYN, NY 11210                    AVE
                                                                BROOKLYN, NY 11210
99    2484 Adam           ACP BLVD PORTFOLIO   Joel Goldstein   GALIL MANAGEMENT     9/22/2014-
      Clayton Powell Jr   LLC                                   LLC                  Present
      Blvd/2484           1465A FLATBUSH AVE                    1465A FLATBUSH
      Seventh Ave, New    BROOKLYN, NY 11210                    AVE
      York County                                               BROOKLYN, NY 11210

100   2300 Adam           ACP BLVD PROTFOLIO   Joel Goldstein   GALIL MANAGEMENT     9/22/2014-
      Clayton Powell Jr   LLC                                   LLC                  Present
      Blvd, New York      1465A FLATBUSH AVE                    1465A FLATBUSH
      County              BROOKLYN, NY 11210                    AVE
                                                                BROOKLYN, NY 11210
101   104 Audubon,        AUDUBON 550 W 171    Joel Goldstein   GALIL MANAGEMENT     7/28/2015-
      New York County     PORTFOLIO LLC                         LLC                  Present
                          1465A FLATBUSH AVE                    1465A FLATBUSH
                          BROOKLYN, NY 11210                    AVE
                                                                BROOKLYN, NY 11210
102   2302 W 12th St,     AVENUE W EQUITIES,   Scott Katz       E&M BRONX ASSOC.     1/3/2006-
      Kings County        LLC1465A FLATBUSH                     1465A FLATBUSH       6/23/2015
                          AVEBROOKLYN, NY                       AVE BROOKLYN, NY
                          11210                                 11210
                  th
103   321 East 115        DDEH 319 E 115 LLC   Joel Goldstein   E&M BRONX ASSOC.     3/19/2007-
      Street, New York    1465A FLATBUSH AVE                    LLC                  Present
      County              BROOKLYN, NY 11210                    1465A FLATBUSH
                                                                AVE
                                                                BROOKLYN, NY 11210




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104   633 E 104th St,      E & M ASSOCIATES I         Scott Katz            E&M BRONX ASSOC.     8/24/2004-
      Kings County         LLC                                              1465A FLATBUSH       Present
                           1465A FLATBUSH AVE                               AVE BROOKLYN, NY
                           BROOKLYN, NY 11210                               11210
105   615 E 104th St,      E & M ASSOCIATES LLC       Scott Katz            E&M BRONX ASSOC.     8/24/2004-
      Kings County         1465A FLATBUSH AVE                               1465A FLATBUSH       Present
                           BROOKLYN, NY 11210                               AVE BROOKLYN, NY
                                                                            11210
106   140 West 112th       MANHATTAN VALLEY           Irving Langer         E&M BRONX ASSOC.     11/14/2013-
      St, New York         WEST LLC                   Joel Goldstein        975 WALTON AVE       Present
      County               1465A FLATBUSH AVE         Manhattanville Mezz   BRONX, NY 10452
                           BROOKLYN, NY 11210         LLC

107   574 53rd St, Kings   Neighborhood               Scott Katz            E&M BRONX ASSOC.     12/6/1982-
      County               Stabilization Associates                         1465A FLATBUSH       Present
                           I L.P.                                           AVE BROOKLYN, NY
                           39 Broadway                                      11210
                           New York, NY
108   338 53rd St, Kings   NEIGHBORHOOD               Scott Katz            E&M BRONX ASSOC.     12/20/1982-
      County               STABILIZATION                                    1465A FLATBUSH       Present
                           ASSOCIATES II                                    AVE BROOKLYN, NY
                           39 Broadway                                      11210
                           New York, NY
109   442 49th St, Kings   NEIGHBORHOOD               Scott Katz            E&M BRONX ASSOC.     12/20/1982-
      County               STABILIZATION                                    1465A FLATBUSH       Present
                           ASSOCIATES II                                    AVE BROOKLYN, NY
                           39 Broadway                                      11210
                           New York, NY
110   448 51st St, Kings   NEIGHBORHOOD               David Friedman        E & M ASSOCIATES     12/6/1982-
      County               STABILIZATION              Irving Langer         1465A FLATBUSH       Present
                           ASSOCIATES I, L.P aka                            AVE
                           NSA ASSOCIATES I                                 BROOKLYN, NY 11210
                           1465A FLATBUSH AVE
                           BROOKLYN, NY 11210
111   4702-4 4 Ave/370     NEIGHBORHOOD               David Friedman        E & M ASSOCIATES     12/6/1982-
      47th Street, Kings   STABILIZATION              Irving Langer         1465A FLATBUSH       Present
      County               ASSOCIATES I, L.P aka                            AVE
                           NSA ASSOCIATES I                                 BROOKLYN, NY 11210
                           1465A FLATBUSH AVE
                           BROOKLYN, NY 11210
112   5203 6th Ave,        NEIGHBORHOOD               David Friedman        E & M ASSOCIATES     12/6/1982-
      Kings County         STABILIZATION                                    1465A FLATBUSH       Present
                           ASSOCIATES I, L.P aka                            AVE
                           NSA ASSOCIATES I                                 BROOKLYN, NY 11210
                           1465A FLATBUSH AVE
                           BROOKLYN, NY 11210
113   5209 6th Ave,        NEIGHBORHOOD               David Friedman        E&M                  12/6/1982-
      Kings County         STABILIZATION                                    ASSOCIATES1465A      Present
                           ASSOCIATES I, L.P aka                            FLATBUSH
                           NSA ASSOCIATES                                   AVEBROOKLYN, NY
                           I1465A FLATBUSH                                  11210
                           AVEBROOKLYN, NY
                           11210




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114   5213 6th Avenue,     NEIGHBORHOOD            David Friedman   E & M ASSOCIATES     12/6/1982-
      Kings County         STABILIZATION           Irving Langer    1465A FLATBUSH       Present
                           ASSOCIATES I, L.P aka                    AVE
                           NSA ASSOCIATES I                         BROOKLYN, NY 11210
                           1465A FLATBUSH AVE
                           BROOKLYN, NY 11210
115   523 51st St, Kings   NEIGHBORHOOD            David Friedman   E & M ASSOCIATES     6/10/1982-
      County               STABILIZATION           Irving Langer    1465A FLATBUSH       Present
                           ASSOCIATES I, L.P aka                    AVE
                           NSA ASSOCIATES I                         BROOKLYN, NY 11210
                           1465A FLATBUSH AVE
                           BROOKLYN, NY 11210
116   5301 6th Avenue      NEIGHBORHOOD            David Friedman   E & M ASSOCIATES     12/6/1982-
      a/k/a 602 53rd       STABILIZATION           Irving Langer    1465A FLATBUSH       Present
      Street, Kings        ASSOCIATES I, L.P aka                    AVE
      County               NSA ASSOCIATES I                         BROOKLYN, NY 11210
                           1465A FLATBUSH AVE
                           BROOKLYN, NY 11210
117   5302-10 6 Ave,       NEIGHBORHOOD            David Friedman   E & M ASSOCIATES     12/6/1982-
      Kings County         STABILIZATION                            1465A FLATBUSH       Present
                           ASSOCIATES I, L.P aka                    AVE
                           NSA ASSOCIATES I                         BROOKLYN, NY 11210
                           1465A FLATBUSH AVE
                           BROOKLYN, NY 11210
118   5305-11 6 Ave,       NEIGHBORHOOD            David Friedman   E & M ASSOCIATES     12/6/1982-
      Kings County         STABILIZATION                            1465A FLATBUSH       Present
                           ASSOCIATES I, L.P aka                    AVE
                           NSA ASSOCIATES I                         BROOKLYN, NY 11210
                           1465A FLATBUSH AVE
                           BROOKLYN, NY 11210
119   5319 6th Avenue,     NEIGHBORHOOD            David Friedman   E & M ASSOCIATES     12/6/1982-
      Kings County         STABILIZATION                            1465A FLATBUSH       Present
                           ASSOCIATES I, L.P aka                    AVE
                           NSA ASSOCIATES I                         BROOKLYN, NY 11210
                           1465A FLATBUSH AVE
                           BROOKLYN, NY 11210
120   5609 4th Ave,        NEIGHBORHOOD            David Friedman   E & M ASSOCIATES     12/6/1982-
      Kings County         STABILIZATION           Irving Langer    1465A FLATBUSH       Present
                           ASSOCIATES I, L.P aka                    AVE
                           NSA ASSOCIATES I                         BROOKLYN, NY 11210
                           1465A FLATBUSH AVE
                           BROOKLYN, NY 11210
121   565 56th St, Kings   NEIGHBORHOOD            David Friedman   E & M ASSOCIATES     12/6/1982-
      County               STABILIZATION           Irving Langer    1465A FLATBUSH       Present
                           ASSOCIATES I, L.P aka                    AVE
                           NSA ASSOCIATES I                         BROOKLYN, NY 11210
                           1465A FLATBUSH AVE
                           BROOKLYN, NY 11210
122   218 54th Street,     NEIGHBORHOOD            David Friedman   E & M ASSOCIATES     12/6/1982-
      Kings County         STABILIZATION           Irving Langer    1465A FLATBUSH       Present
                           ASSOCIATES I, L.P aka                    AVE
                           NSA ASSOCIATES I                         BROOKLYN, NY 11210
                           1465A FLATBUSH AVE
                           BROOKLYN, NY 11210




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123   317 43rd St/319      NSA ASSOCIATES         Joel GoldsteinIrving   E&M                  10/13/1982-
      43rd St, Kings       II1465A FLATBUSH       Langer                 ASSOCIATES1465A      Present
      County               AVEBROOKLYN, NY                               FLATBUSH
                           11210                                         AVEBROOKLYN, NY
                                                                         11210
124   7-11 Seagirt         SARASOTA GOLD LLC      Faige Werdyger         SARASOTA GOLD LLC    6/27/2013-
      Avenue, Queens       1465A FLATBUSH AVE                            1465A FLATBUSH       Present
      County               BROOKLYN, NY 11210                            AVE
                                                                         BROOKLYN, NY 11210
125   5314 6th Ave,        SIXTH AVENUE I         David Friedman         E & M ASSOCIATES     5/28/1986-
      Kings County         ASSOCIATES                                    1465A FLATBUSH       Present
                           1465A FLATBUSH AVE                            AVE
                           BROOKLYN, NY 11210                            BROOKLYN, NY 11210
126   5318 6th Avenue,     SIXTH AVENUE REHAB I   Scott Katz             E&M BRONX ASSOC.     5/28/1986-
      Kings County         ASSOCIATES                                    1465A FLATBUSH       Present
                           1465A FLATBUSH AVE                            AVE BROOKLYN, NY
                           BROOKLYN, NY 11210                            11210
127   5320 6th Ave,        SIXTH AVENUE REHAB I   Scott Katz             E&M BRONX ASSOC.     5/28/1986-
      Kings County         ASSOCIATES                                    1465A FLATBUSH       Present
                           39 Broadway                                   AVE BROOKLYN, NY
                           New York, NY                                  11210
128   5324 6th Avenue      SIXTH AVENUE REHAB I   Scott Katz             E&M BRONX ASSOC.     6/28/1986-
      aka 583 54th         ASSOCIATES                                    1465A FLATBUSH       Present
      Street, Kings        39 Broadway                                   AVE BROOKLYN, NY
      County               New York, NY                                  11210
129   558 50th St, Kings   SUNSET PARK            David Friedman         E & M ASSOCIATES     7/11/1979-
      County               HOUSING ASSOC                                 1465A FLATBUSH       Present
                           1465A FLATBUSH AVE                            AVE
                           BROOKLYN, NY 11210                            BROOKLYN, NY 11210
130   213 55th St, Kings   SUNSET PARK            David Friedman         E & M ASSOCIATES     7/11/1979-
      County               HOUSING ASSOCIATES                            1465A FLATBUSH       Present
                           1465A FLATBUSH AVE                            AVE
                           BROOKLYN, NY 11210                            BROOKLYN, NY 11210
131   4924 6th Ave         SUNSET PARK N S A II   David Friedman         E & M ASSOCIATES     10/13/1982-
      a/k/a 581 50th       1465A FLATBUSH AVE     Irving Langer          1465A FLATBUSH       Present
      Street, a/k/a 575    BROOKLYN, NY 11210                            AVE
      50th Street                                                        BROOKLYN, NY 11210
      4922 6th Avenue
      a/k/a 575 50th
      Street, Kings
      County

132   517 49th St, Kings   SUNSET PARK NSA 11     David Friedman         E & M ASSOCIATES     12/20/1982-
      County               1465A FLATBUSH AVE     Irving Langer          1465A FLATBUSH       Present
                           BROOKLYN, NY 11210                            AVE
                                                                         BROOKLYN, NY 11210
133   334-336 53rd St,     SUNSET PARK NSA 2      David Friedman         E & M ASSOCIATES     12/20/1982-
      Kings County         1465A FLATBUSH AVE     Irving Langer          1465A FLATBUSH       Present
                           BROOKLYN, NY 11210                            AVE
                                                                         BROOKLYN, NY 11210
134   4906 6th Avenue,     SUNSET PARK NSA 2      David Friedman         E & M ASSOCIATES     12/23/1982-
      Kings County         1465A FLATBUSH AVE     Irving Langer          1465A FLATBUSH       Present
                           BROOKLYN, NY 11210                            AVE
                                                                         BROOKLYN, NY 11210


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135   334 53rd St, Kings   SUNSET PARK NSA 2      David Friedman         E & M ASSOCIATES     12/20/1982-
      County               1465A FLATBUSH AVE                            1465A FLATBUSH       Present
                           BROOKLYN, NY 11210                            AVE
                                                                         BROOKLYN, NY 11210
136   224 54th St, Kings   SUNSET PARK NSA        David FriedmanIrving   E&M                  12/6/1982-
      County               I1465A FLATBUSH        Langer                 ASSOCIATES1465A      Present
                           AVEBROOKLYN, NY                               FLATBUSH
                           11210                                         AVEBROOKLYN, NY
                                                                         11210
137   5207 6th Ave,        SUNSET PARK NSA I      David Friedman         E & M ASSOCIATES     12/6/1982-
      Kings County         1465A FLATBUSH AVE                            1465A FLATBUSH       Present
                           BROOKLYN, NY 11210                            AVE
                                                                         BROOKLYN, NY 11210
138   323 43rd St, Kings   SUNSET PARK NSA 11     David Friedman         E & M ASSOCIATES     10/13/1982-
      County               1465A FLATBUSH AVE     Irving Langer          1465A FLATBUSH       Present
                           BROOKLYN, NY 11210                            AVE
                                                                         BROOKLYN, NY 11210
139   436 49th St/438      SUNSET PARK NSA II     David Friedman         E & M ASSOCIATES     12/20/1982-
      49th St, Kings       1465A FLATBUSH AVE                            1465A FLATBUSH       Present
      County               BROOKLYN, NY 11210                            AVE
                                                                         BROOKLYN, NY 11210
140   441 49th St/443      SUNSET PARK NSA 11     David Friedman         E & M ASSOCIATES     12/23/1982-
      49th St, Kings       1465A FLATBUSH AVE     Irving Langer          1465A FLATBUSH       Present
      County               BROOKLYN, NY 11210                            AVE
                                                                         BROOKLYN, NY 11210
141   444 49th St, Kings   SUNSET PARK NSA 11     David Friedman         E & M ASSOCIATES     12/20/1982-
      County               1465A FLATBUSH AVE                            1465A FLATBUSH       Present
                           BROOKLYN, NY 11210                            AVE
                                                                         BROOKLYN, NY 11210
142   440 49th St, Kings   SUNSET PARK NSA II     David Friedman         E & M ASSOCIATES     12/20/1982-
      County               1465A FLATBUSH AVE                            1465A FLATBUSH       Present
                           BROOKLYN, NY 11210                            AVE
                                                                         BROOKLYN, NY 11210
143   4902 6th Avenue      SUNSET PARK NSA II     David Friedman         E & M ASSOCIATES     12/20/1982-
      a/k/a 574 49th       1465A FLATBUSH AVE                            1465A FLATBUSH       Present
      Street, Kings        BROOKLYN, NY 11210                            AVE
      County                                                             BROOKLYN, NY
                                                                         11210
144   4920 6th Avenue      SUNSET PARK NSA 11     David Friedman         E & M ASSOCIATES     12/20/1982-
      a/k/a 323 43rd       1465A FLATBUSH AVE     Irving Langer          1465A FLATBUSH       Present
      St., Kings County    BROOKLYN, NY 11210                            AVE
                                                                         BROOKLYN, NY 11210
145   549 49th St, Kings   SUNSET PARK NSA II     David Friedman         E & M ASSOCIATES     2/21/1983-
      County               1465A FLATBUSH AVE                            1465A FLATBUSH       Present
                           BROOKLYN, NY 11210                            AVE
                                                                         BROOKLYN, NY 11210
146   260 ELIZABETH        260 ELIZABETH STREET   JOEL GOLDSTEIN         GALIL MANAGEMENT     3/11/2015-
      ST, New York         LLC                                           1465A FLATBUSH       Present
      County               1465A FLATBUSH AVE                            AVE BROOKLYN, NY
                           BROOKLYN, NY 11210                            11210
147   262 Elizabeth St,    262 ELIZABETH          JOEL GOLDSTEIN         GALIL MANAGEMENT     3/11/2015-
      New York County      PORTFOLIO LLC                                 1465A FLATBUSH       Present
                           1465A FLATBUSH AVE                            AVE BROOKLYN, NY
                           BROOKLYN, NY 11210                            11210


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148   264 Elizabeth St,   264 ELIZABETH STREET   JOEL GOLDSTEIN   GALIL MANAGEMENT     3/11/2015-
      New York County     PORTFOLIO LLC                           1465A FLATBUSH       Present
                          1465A FLATBUSH AVE                      AVE BROOKLYN, NY
                          BROOKLYN, NY 11210                      11210

149   266 Elizabeth St,   266 ELIZABETH STREET   JOEL GOLDSTEIN   GALIL                3/11/2015-
      New York County     PORTFOLIO LLC1465A                      MANAGEMENT1465A      Present
                          FLATBUSH                                FLATBUSH AVE
                          AVEBROOKLYN, NY                         BROOKLYN, NY 11210
                          11210
150   268 Elizabeth St,   268 ELIZABETH STREET   JOEL GOLDSTEIN   GALIL MANAGEMENT     3/11/2015-
      New York County     PORTFOLIO LLC                           1465A FLATBUSH       Present
                          1465A FLATBUSH AVE                      AVE BROOKLYN, NY
                          BROOKLYN, NY 11210                      11210

151   11-15 Broadway,     11-15 BROADWAY         JOEL GOLDSTEIN   GALIL MANAGEMENT     6/1/2015-Present
      Queens County       OWNER LLC                               1465A FLATBUSH
                          1465A FLATBUSH AVE                      AVE BROOKLYN, NY
                          BROOKLYN, NY 11210                      11210
152   30-50 21ST ST,      30-50 21ST STREET      JOEL GOLDSTEIN   GALIL MANAGEMENT     6/1/2015-Present
      Queens County       OWNER LLC                               1465A FLATBUSH
                          1465A FLATBUSH AVE                      AVE BROOKLYN, NY
                          BROOKLYN, NY 11210                      11210
153   271 EAST 197        271 E 197 ST OWNER     Scott Katz       E&M BRONX ASSOC.     5/5/2010-
      STREET, Bronx       LLC                                     1465A FLATBUSH       7/24/2013
      County              1465A FLATBUSH AVE                      AVE BROOKLYN, NY
                          BROOKLYN, NY 11210                      11210
154   750 PELHAM          750-760 PELHAM         Scott Katz       E&M BRONX ASSOC.     9/6/2011-
      PARKWAY SOUTH,      PKWY OWNER LLC                          1465A FLATBUSH       10/1/2013
      Bronx County        1465A FLATBUSH AVE                      AVE BROOKLYN, NY
                          BROOKLYN, NY 11211                      11210

155   124 EAST 177        124 E 177 ST OWNER     Scott Katz       E&M BRONX ASSOC.     5/5/2010-
      STREET, Bronx       LLC                                     1465A FLATBUSH       9/17/2013
      County              1465A FLATBUSH AVE                      AVE BROOKLYN, NY
                          BROOKLYN, NY 11210                      11210
156   3472 KNOX           3472 KNOX PLACE        Scott Katz       E&M BRONX ASSOC.     5/5/2010-
      PLACE, Bronx        OWNER LLC                               1465A FLATBUSH       10/17/2012
      County              1465A FLATBUSH AVE                      AVE BROOKLYN, NY
                          BROOKLYN, NY 11210                      11210
157   2320 AQUEDUCT       2320 AQUEDUCT AVE      Scott Katz       E&M BRONX ASSOC.     5/5/2010-
      AVE, Bronx          OWNER LLC                               1465A FLATBUSH       5/29/2013
      County              1465A FLATBUSH AVE                      AVE BROOKLYN, NY
                          BROOKLYN, NY 11210                      11210
158   1160 CROMWELL       1160 CROMWELL AVE      Scott Katz       E&M BRONX ASSOC.     5/5/2010-
      AVENUE, Bronx       OWNER LLC                               1465A FLATBUSH       7/24/2013
      County              1465A FLATBUSH AVE                      AVE BROOKLYN, NY
                          BROOKLYN, NY 11210                      11210

159   3940 BRONX          3940 BRONX BLVD        Scott Katz       E&M BRONX ASSOC.     5/5/2010-
      BOULEVARD,          OWNER LLC                               1465A FLATBUSH       11/30/2011
      Bronx County        1465A FLATBUSH AVE                      AVE BROOKLYN, NY
                          BROOKLYN, NY 11210                      11210




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160   1881 GRAND        1881 GRAND           LEIBEL LEDERMAN     E&M BRONX          5/5/2010-Present
      CONCOURSE,        CONCOURSE REALTY                         ASSOCIATES LLC
      Bronx County      LLC                                      975 WALTON AVE
                        1465A FLATBUSH AVE                       BRONX, NY 10452
                        BROOKLYN, NY 11210
161   3136 PERRY        3136 PERRY AVE       Scott Katz          E&M BRONX ASSOC.   5/5/2010-
      AVENUE, Bronx     OWNER LLC                                1465A FLATBUSH     8/29/2012
      County            1465A FLATBUSH AVE                       AVE BROOKLYN, NY
                        BROOKLYN, NY 11210                       11210
162   155 WEST 162      155W162 STREET LLC   SHLOIME GOLDSTEIN   CITYLIFENY         5/5/2010-
      STREET, Bronx     975 WALTON, 2000                         975 WALTON, 2000   3/12/2014,
      County            BRONX, NY 10452                          BRONX, NY 10452    2/5/2016-Present

163   1014 GERARD       1014 GERARD AVE      Scott Katz          E&M BRONX ASSOC.   5/5/2010-
      AVENUE, Bronx     OWNER LLC1465A                           1465A FLATBUSH     9/10/2013
      County            FLATBUSH AVE                             AVE BROOKLYN, NY
                        BROOKLYN, NY 11210                       11210
164   1475 SHERIDAN     1475 SHERIDAN AVE    Scott Katz          E&M BRONX ASSOC.   5/5/2010-
      AVENUE, Bronx     OWNER LLC                                1465A FLATBUSH     5/29/2013
      County            1465A FLATBUSH AVE                       AVE BROOKLYN, NY
                        BROOKLYN, NY 11210                       11210
165   320 EAST 197      320 E 197 ST OWNER   Scott Katz          E&M BRONX ASSOC.   5/5/2010-
      STREET, Bronx     LLC                                      1465A FLATBUSH     7/24/2013
      County            1465A FLATBUSH AVE                       AVE BROOKLYN, NY
                        BROOKLYN, NY 11210                       11210
166   131 WEST          131 W KINGSBRIDGE    Scott Katz          E&M BRONX ASSOC.   5/5/2010-
      KINGSBRIDGE       OWNER LLC                                1465A FLATBUSH     2/6/2014
      ROAD, Bronx       1465A FLATBUSH AVE                       AVE BROOKLYN, NY
      County            BROOKLYN, NY 11210                       11210

167   125 WEST          2701 WEBB AVE        Scott Katz          E&M BRONX ASSOC.   5/5/2010-
      KINGSBRIDGE       OWNER LLC                                1465A FLATBUSH     2/6/2014
      ROAD, Bronx       1465A FLATBUSH AVE                       AVE BROOKLYN, NY
      County            BROOKLYN, NY 11210                       11210

168   751 GERARD AVE,   751 GERARD AVE       Scott Katz          E&M BRONX ASSOC.   5/5/2010-
      Bronx County      OWNER LLC                                1465A FLATBUSH     9/10/2013
                        1465A FLATBUSH AVE                       AVE BROOKLYN, NY
                        BROOKLYN, NY 11210                       11210
169   2055 ANTHONY      2055 ANTHONY AVE     Scott Katz          E&M BRONX ASSOC.   5/5/2010-
      AVENUE, Bronx     OWNER LLC                                1465A FLATBUSH     11/14/2012
      County            1465A FLATBUSH AVE                       AVE BROOKLYN, NY
                        BROOKLYN, NY 11210                       11210
170   975 WALTON        975 WALTON AVE       Scott Katz          E&M BRONX ASSOC.   5/5/2010-
      AVENUE, Bronx     OWNER LLC                                1465A FLATBUSH     4/1/2015
      County            1465A FLATBUSH AVE                       AVE BROOKLYN, NY
                        BROOKLYN, NY 11210                       11210
171   1212 GRAND        1212 GRAND           Scott Katz          E&M BRONX ASSOC.   5/5/2010-
      CONCOURSE,        CONCOURSE OWNER                          1465A FLATBUSH     11/14/2012
      Bronx County      LLC                                      AVE BROOKLYN, NY
                        1465A FLATBUSH AVE                       11210
                        BROOKLYN, NY 11210
172   1530 SHERIDAN     1530 SHERIDAN AVE    Scott Katz          E&M BRONX ASSOC.   5/5/2010-
      AVENUE, Bronx     OWNER LLC                                1465A FLATBUSH     10/23/2012
      County            1465A FLATBUSH AVE                       AVE BROOKLYN, NY
                        BROOKLYN, NY 11210                       11210


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173   323 EAST           323 E MOSHOLU PKWY     Scott Katz        E&M BRONX ASSOC.     5/5/2010-
      MOSHOLU            OWNER LLC                                1465A FLATBUSH       7/18/2013
      PARKWAY            1465A FLATBUSH                           AVE BROOKLYN, NY
      NORTH, Bronx       AVENUE                                   11210
      County             BROOKLYN, NY 11210

174   161 EAST 179       161-165 E 179 ST       Scott Katz        E&M BRONX ASSOC.     5/5/2010-
      STREET, Bronx      OWNER LLC                                1465A FLATBUSH       8/29/2012
      County             1465A FLATBUSH AVE                       AVE BROOKLYN, NY
                         BROOKLYN, NY 11210                       11210
175   2215 NEWKIRK       2215 PROPERTIES LLC    Scott Katz        E&M BRONX ASSOC.     12/27/2006-
      AVE, King County   1465A FLATBUSH AVE                       1465A FLATBUSH       1/5/2015
                         BROOKLYN, NY 11210                       AVE BROOKLYN, NY
                                                                  11210
176   103 EAST 102       DDEH 103 E 102         JOEL GOLDSTEIN    E&M BRONX            3/19/2007-
      STREET, New York   LLC1465A FLATBUSH                        ASSOCIATES150        Present
      County             AVEBROOKLYN, NY                          WEST 30TH ST, 2ND
                         11210                                    FLOORNEW YORK, NY
                                                                  10001

177   112 EAST 103       DDEH 112 E 103 LLC     JOEL GOLDSTEIN    E&M BRONX            3/19/2007-
      STREET, New York   1465A FLATBUSH AVE                       ASSOCIATES           Present
      County             BROOKLYN, NY 11210                       1465A FLATBUSH
                                                                  AVE
                                                                  BROOKLYN, NY 11210
178   118 EAST 103 ST,   DDEH 102 E 103 LLC     JOEL GOLDSTEIN    E&M BRONX            3/19/2007-
      New York County    150 WEST 30TH ST,      YEHUDA RUZORSKY   ASSOCIATES           Present
                         2ND FL                                   1465A FLATBUSH
                         NEW YORK, NY 10001                       AVE
                                                                  BROOKLYN, NY 11210
                         1465A FLATBUSH AVE
                         BROOKLYN, NY 11210
179   122 EAST 103 ST,   DDEH 122 E 103ST LLC   JOEL GOLDSTEIN    E&M BRONX            3/19/2007-
      New York County    1465A FLATBUSH AVE                       ASSOCIATES           Present
                         BROOKLYN, NY 11210                       1465A FLATBUSH
                                                                  AVE
                                                                  BROOKLYN, NY 11210
180   124 EAST 103 ST,   DDEH 124 E117 LLC      JOEL GOLDSTEIN    E&M BRONX            3/19/2007-
      New York County    1465A FLATBUSH AVE                       ASSOCIATES           Present
                         BROOKLYN, NY 11210                       1465A FLATBUSH
                                                                  AVE
                                                                  BROOKLYN, NY 11210
181   126 EAST 103 ST,   DDEH 126 E 103ST LLC   JOEL GOLDSTEIN    E&M BRONX            3/19/2007-
      New York County    1465A FLATBUSH AVE                       ASSOCIATES           Present
                         BROOKLYN, NY 11210                       1465A FLATBUSH
                                                                  AVE
                                                                  BROOKLYN, NY 11210
182   136 EAST 117 ST,   DDEH 124 E. 117 LLC    JOEL GOLDSTEIN    E&M BRONX            3/19/2007-
      New York County    1465A FLATBUSH AVE                       ASSOCIATES           Present
                         BROOKLYN, NY 11210                       1465A FLATBUSH
                                                                  AVE
                                                                  BROOKLYN, NY 11210
183   137 EAST 110 ST,   DDEH 137 E. 110 LLC    JOEL GOLDSTEIN    E&M BRONX            3/19/2007-
      New York County    1465A FLATBUSH AVE                       ASSOCIATES           Present
                         BROOKLYN, NY 11210                       1465A FLATBUSH
                                                                  AVE


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                                                                 BROOKLYN, NY 11210




184   139 EAST 110 ST,   DDEH 137 E 110 LLC    JOEL GOLDSTEIN    E&M BRONX            3/19/2007-
      New York County    1465A FLATBUSH AVE                      ASSOCIATES           Present
                         BROOKLYN, NY 11210                      1465A FLATBUSH
                                                                 AVE
                                                                 BROOKLYN, NY 11210
185   154 EAST 106 ST,   DDEH 154 E. 106 LLC   JOEL GOLDSTEIN    E&M BRONX            3/19/2007-
      New York County    1465A FLATBUSH AVE                      ASSOCIATES           Present
                         BROOKLYN, NY 11210                      1465A FLATBUSH
                                                                 AVE
                                                                 BROOKLYN, NY 11210
186   1567 LEXINGTON     DDEH 1567             JOEL GOLDSTEIN    E&M BRONX            3/19/2007-
      AVE, New York      LEXINGTON LLC                           ASSOCIATES           Present
      County             1465A FLATBUSH AVE                      1465A FLATBUSH
                         BROOKLYN, NY 11210                      AVE
                                                                 BROOKLYN, NY 11210
187   1571 LEXINGTON     DDEH 1567             JOEL GOLDSTEIN    E&M BRONX            3/19/2007-
      AVE, New York      LEXINGTON LLC1465A                      ASSOCIATES1465A      Present
      County             FLATBUSH                                FLATBUSH
                         AVEBROOKLYN, NY                         AVEBROOKLYN, NY
                         11210                                   11210
188   1569 LEXINGTON     DDEH 1567             JOEL GOLDSTEIN    E&M BRONX            3/19/2007-
      AVE, New York      LEXINGTON LLC                           ASSOCIATES           Present
      County             1465A FLATBUSH AVE                      1465A FLATBUSH
                         BROOKLYN, NY 11210                      AVE
                                                                 BROOKLYN, NY 11210
189   1575 LEXINGTON     DDEH 1567             JOEL GOLDSTEIN    E&M BRONX            3/19/2007-
      AVE, New York      LEXINGTON LLC                           ASSOCIATES           Present
      County             1465A FLATBUSH AVE                      1465A FLATBUSH
                         BROOKLYN, NY 11210                      AVE
                                                                 BROOKLYN, NY 11210
190   204 EAST 112 ST,   DDEH 238 E 111 LLC    JOEL GOLDSTEIN    E&M BRONX            3/19/2007-
      New York County    1465A FLATBUSH AVE    YEHUDA RUZORSKY   ASSOCIATES           Present
                         BROOKLYN, NY 11210                      1465A FLATBUSH
                                                                 AVE
                                                                 BROOKLYN, NY 11210
191   215 EAST 117 ST,   DDEH 215 E 117 LLC    JOEL GOLDSTEIN    E&M BRONX            3/19/2007-
      New York County    1465A FLATBUSH AVE                      ASSOCIATES           Present
                         BROOKLYN, NY 11210                      1465A FLATBUSH
                                                                 AVE
                                                                 BROOKLYN, NY 11210
192   2156 2 AVENUE,     DDEH 2156 SECOND      JOEL GOLDSTEIN    E&M BRONX            3/19/2007-
      New York County    LLC                                     ASSOCIATES           Present
                         150 WEST 30TH ST,                       1465A FLATBUSH
                         2ND FL                                  AVE
                         NEW YORK, NY 10001                      BROOKLYN, NY 11210

                         1465A FLATBUSH AVE
                         BROOKLYN, NY 11210




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193   216 EAST 118 ST,   DDEH 216 E 118 LLC     JOEL GOLDSTEIN         E&M BRONX            3/19/2007-
      New York County    1465A FLATBUSH AVE                            ASSOCIATES           Present
                         BROOKLYN, NY 11210                            1465A FLATBUSH
                                                                       AVE
                                                                       BROOKLYN, NY 11210
194   2171 3 AVENUE,     DDEH 2171 THIRD LLC    JOEL GOLDSTEIN         E&M BRONX            3/19/2007-
      New York County    150 WEST 30TH ST,      YEHUDA RUZORSKY        ASSOCIATES           Present
                         2ND FL                                        1465A FLATBUSH
                         NEW YORK, NY 10001                            AVE
                                                                       BROOKLYN, NY 11210
                         1465A FLATBUSH AVE
                         BROOKLYN, NY 11210
195   2173 3 AVENUE,     DDEH 2171 THIRD LLC    JOEL GOLDSTEIN         GALIL MANAGEMENT     3/19/2007-
      New York County    1465A FLATBUSH AVE                            1465A FLATBUSH       Present
                         BROOKLYN, NY 11210                            AVE
                                                                       BROOKLYN, NY 11210
196   228 EAST 116 ST,   DDEH 291 PLEASANT      JOEL GOLDSTEIN         E&M BRONX            3/19/2007-
      New York County    LLC                                           ASSOCIATES           Present
                         1465A FLATBUSH AVE                            1465A FLATBUSH
                         BROOKLYN, NY 11210                            AVE
                                                                       BROOKLYN, NY 11210
197   231 EAST 117 ST,   DDEH 231 E 117 LLC     JOEL GOLDSTEIN         SG2 E+M HARLEM       3/19/2007-
      New York County    1465A FLATBUSH AVE                            1465A FLATBUSH       Present
                         BROOKLYN, NY 11210                            AVE
                                                                       BROOKLYN, NY 11210
198   235 EAST 117 ST,   DDEH 231 E 117         JOEL GOLDSTEINIRVING   E&M BRONX            3/19/2007-
      New York County    LLC1465A FLATBUSH      LANGER                 ASSOCIATES1465A      Present
                         AVEBROOKLYN, NY                               FLATBUSH
                         11210150 WEST 30TH                            AVEBROOKLYN, NY
                         ST, 2ND FLNEW YORK,                           11210
                         NY 10001

199   233 EAST 111 ST,   DDEH 233 E 111         JOEL GOLDSTEIN         E&M BRONX            3/19/2007-
      New York County    STREET LLC                                    ASSOCIATES           Present
                         1465A FLATBUSH AVE                            1465A FLATBUSH
                         BROOKLYN, NY 11210                            AVE
                                                                       BROOKLYN, NY 11210
200   234 EAST 116 ST,   DDEH 234 E 116ST LLC   JOEL GOLDSTEIN         E&M BRONX            3/19/2007-
      New York County    1465A FLATBUSH AVE                            ASSOCIATES           Present
                         BROOKLYN, NY 11210                            1465A FLATBUSH
                                                                       AVE
                                                                       BROOKLYN, NY 11210
201   235 EAST 111 ST,   DDEH 235 E 111ST LLC   JOEL GOLDSTEIN         E&M BRONX            3/19/2007-
      New York County    1465A FLATBUSH AVE                            ASSOCIATES           Present
                         BROOKLYN, NY 11210                            1465A FLATBUSH
                                                                       AVE
                                                                       BROOKLYN, NY 11210
202   238 EAST 116 ST,   DDEH 234 E116 LLC      JOEL GOLDSTEIN         E&M BRONX            3/19/2007-
      New York County    1465A FLATBUSH AVE                            ASSOCIATES           Present
                         BROOKLYN, NY 11210                            1465A FLATBUSH
                                                                       AVE
                                                                       BROOKLYN, NY 11210




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203   237 EAST 111 ST,   DDEH 291 PLEASANT       JOEL GOLDSTEIN   E&M BRONX            3/19/2007-
      New York County    LLC                                      ASSOCIATES           Present
                         1465A FLATBUSH AVE                       1465A FLATBUSH
                         BROOKLYN, NY 11210                       AVE
                                                                  BROOKLYN, NY 11210
204   2371 2 AVENUE,     DDEH 2371 SECOND        JOEL GOLDSTEIN   E&M BRONX            3/19/2007-
      New York County    LLC                                      ASSOCIATES           Present
                         1465A FLATBUSH AVE                       1465A FLATBUSH
                         BROOKLYN, NY 11210                       AVE
                                                                  BROOKLYN, NY 11210
                         150 WEST 30TH ST,
                         2ND FL
                         NEW YORK, NY 10001
205   238 EAST 111 ST,   DDEH 238 E 111 LLC      JOEL GOLDSTEIN   SG2- E+M HARLEM      3/19/2007-
      New York County    1465A FLATBUSH AVE                       1465A FLATBUSH       Present
                         BROOKLYN, NY 11210                       AVE
                                                                  BROOKLYN, NY 11210
206   244 EAST 117 ST,   DDEH 244 E 117 LLC      JOEL GOLDSTEIN   SG2- E+M HARLEM      3/19/2007-
      New York County    1465A FLATBUSH AVE                       1465A FLATBUSH       Present
                         BROOKLYN, NY 11210                       AVE
                                                                  BROOKLYN, NY 11210
207   291 PLEASANT       DDEH 291 PLEASANT       IRVING LANGER    E&M BRONX            3/19/2007-
      AVE, New York      LLC                     JOEL GOLDSTEIN   ASSOCIATES           Present
      County             1465A FLATBUSH AVE                       1465A FLATBUSH
                         BROOKLYN, NY 11210                       AVE
                                                                  BROOKLYN, NY 11210
208   311 EAST 109 ST,   DDEH 311 E. 109 LLC     JOEL GOLDSTEIN   E&M BRONX            3/19/2007-
      New York County    1465A FLATBUSH AVE                       ASSOCIATES           Present
                         BROOKLYN, NY 11210                       1465A FLATBUSH
                                                                  AVE
                                                                  BROOKLYN, NY 11210
209   312 EAST 106 ST,   DDEH 312 E              JOEL GOLDSTEIN   SG2- E+M             3/19/2007-
      New York County    106.LLC1465A                             HARLEM1465A          Present
                         FLATBUSH                                 FLATBUSH
                         AVEBROOKLYN, NY                          AVEBROOKLYN, NY
                         11210                                    11210
210   318 EAST 106 ST,   DDEH 312 E. 106 LLC     JOEL GOLDSTEIN   E&M BRONX            3/19/2007-
      New York County    1465A FLATBUSH AVE                       ASSOCIATES           Present
                         BROOKLYN, NY 11210                       1465A FLATBUSH
                                                                  AVE
                                                                  BROOKLYN, NY 11210
211   319 EAST 115 ST,   DDEH 319 E 115 LLC      JOEL GOLDSTEIN   E&M BRONX            3/19/2007-
      New York County    1465A FLATBUSH AVE      IRVING LANGER    ASSOCIATES           Present
                         BROOKLYN, NY 11210                       1465A FLATBUSH
                                                                  AVE
                                                                  BROOKLYN, NY 11210
212   328 EAST 106 ST,   DDEH 312 E 106 ST LLC   JOEL GOLDSTEIN   E&M BRONX            3/19/2007-
      New York County    1465A FLATBUSH AVE                       ASSOCIATES           Present
                         BROOKLYN, NY 11210                       1465A FLATBUSH
                                                                  AVE
                                                                  BROOKLYN, NY 11210




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213   411 EAST 114 ST,   DDEH 411 E 114 LLC    JOEL GOLDSTEIN   E&M BRONX            3/19/2007-
      New York County    1465A FLATBUSH AVE                     ASSOCIATES           Present
                         BROOKLYN, NY 11210                     1465A FLATBUSH
                                                                AVE
                         150 WEST 30TH ST,                      BROOKLYN, NY 11210
                         2ND FL
                         NEW YORK, NY 10001
214   411 EAST 118 ST,   DDEH 411 E118LLC      JOEL GOLDSTEIN   SG2-E+M HARLEM       3/19/2007-
      New York County    1465A FLATBUSH AVE                     1465A FLATBUSH       Present
                         BROOKLYN, NY 11210                     AVE
                                                                BROOKLYN, NY 11210
215   413 EAST 114 ST,   DDEH 291 PLEASANT     JOEL GOLDSTEIN   E&M BRONX ASSOC      3/19/2007-
      New York County    LLC                                    LLC                  Present
                         1465A FLATBUSH AVE                     1465A FLATBUSH
                         BROOKLYN, NY 11210                     AVE
                                                                BROOKLYN, NY 11210
216   417 EAST 114 ST,   DDEH 417E 114ST LLC   JOEL GOLDSTEIN   E&M BRONX            3/19/2007-
      New York County    1465A FLATBUSH AVE                     ASSOCIATES           Present
                         BROOKLYN, NY 11210                     1465A FLATBUSH
                                                                AVE
                                                                BROOKLYN, NY 11210
217   419 EAST 114 ST,   DDEH 411 E 114 LLC    JOEL GOLDSTEIN   E&M BRONX            3/19/2007-
      New York County    1465A FLATBUSH AVE                     ASSOCIATES           Present
                         BROOKLYN, NY 11210                     1465A FLATBUSH
                                                                AVE
                         150 WEST 30TH ST,                      BROOKLYN, NY 11210
                         2ND FL
                         NEW YORK, NY 10001
218   421 EAST 114 ST,   DDEH 421 EAST 114TH   JOEL GOLDSTEIN   E&M BRONX            3/19/2007-
      New York County    ST LLC                                 ASSOCIATES           Present
                         1465A FLATBUSH AVE                     1465A FLATBUSH
                         BROOKLYN, NY 11210                     AVE
                                                                BROOKLYN, NY 11210
219   423 EAST 114 ST,   DDEH 411 E 114 LLC    JOEL GOLDSTEIN   E&M BRONX            3/19/2007-
      New York County    1465A FLATBUSH AVE                     ASSOCIATES           Present
                         BROOKLYN, NY 11210                     1465A FLATBUSH
                                                                AVE
                                                                BROOKLYN, NY 11210
220   131 W 112TH ST,    131 -133 WEST 112     IRVING LANGER    E&M BRONX            11/14/2013-
      New York County    STREET LLC1465A                        ASSOC.975 WALTON     Present
                         FLATBUSH                               AVEBRONX, NY
                         AVEBROOKLYN, NY                        10452
                         11210
221   124 W 112TH ST,    124 WEST 112 STREET   IRVING LANGER    E&M BRONX ASSOC.     11/14/2013-
      New York County    LLC                                    975 WALTON AVE       Present
                         1465A FLATBUSH AVE                     BRONX, NY 10452
                         BROOKLYN, NY 11210
222   126 W 112TH ST,    126 WEST 112 LLC      JOEL GOLDSTEIN   MANHATTAN VALLEY     11/14/2013-
      New York County    1465A FLATBUSH AVE    IRVING LANGER    WEST LLC             Present
                         BROOKLYN, NY 11210                     975 WALTON AVE
                                                                BRONX, NY 10452

223   140 W 112TH ST,    MANHATTAN VALLEY      JOEL GOLDSTEIN   E&M BRONX ASSOC      11/14/2013-
      New York County    WEST LLC              IRVING LANGER    975 WALTON AVE       Present
                         1465A FLATBUSH AVE                     BRONX, NY 10452
                         BROOKLYN, NY 11210


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224   310 W 112TH ST,     310 WEST 112TH           JOEL GOLDSTEIN   E&M BRONX ASSOC      11/14/2013-
      New York County     STREET                                    975 WALTON AVE       Present
                          1465A FLATBUSH AVE                        BRONX, NY 10452
                          BROOKLYN, NY 11210
225   303 W 111TH ST,     303 WEST 111 LLC         JOEL GOLDSTEIN   E&M BRONX ASSOC.     11/14/2013-
      New York County     1465A FLATBUSH AVE                        1465A FLATBUSH       Present
                          BROOKLYN, NY 11210                        AVE
                                                                    BROOKLYN, NY 11210
226   2051 FREDERICK      301 West 111-2051 8      Scott Katz       E&M BRONX ASSOC.     11/14/2013-
      DOUGLASS            LLC                                       1465A FLATBUSH       11/10/2014
      BOULEVARD/302       1465A Flatbush                            AVE BROOKLYN, NY
      W 111TH ST/2051     Avenue                                    11210
      8TH AVE, New        Brooklyn, NY 11210
      York County



227   117-125 WEST        117 WEST 141 LLC         MEILECH WEISS    117 WEST 141 LLC     03/08/2016 -
      141 ST , New York   3611 14TH AVE, SUITE                      3611 14TH AVE,       Present
      County              603                                       SUITE 603
                          BROOKLYN, NY 11218                        BROOKLYN, NY 11218

                          Note: Partnership with
                          Guardian Realty
                          Management
228   127-135 WEST        127 WEST 141 LLC         MEILECH WEISS    127 WEST 141 LLC     03/08/2016 -
      141 ST, New York    3611 14TH AVE, SUITE                      3611 14TH AVE,       Present
      County              603                                       SUITE 603
                          BROOKLYN, NY 11218                        BROOKLYN, NY 11218

                          Note: Partnership with
                          Guardian Realty
                          Management
229   137-145 WEST        137 WEST 141 LLC         MEILECH WEISS    137 WEST 141 LLC     03/08/2016 -
      141 ST, New York    3611 14TH AVE, SUITE                      3611 14TH AVE,       Present
      County              603                                       SUITE 603
                          BROOKLYN, NY 11218                        BROOKLYN, NY 11218

                          Note: Partnership with
                          Guardian Realty
                          Management
230   3030 VALENTINE      3030 VALENTINE           GZIM CELAJ       3030 VALENTINE       03/15/2012 -
      AVE, Bronx          AVEOWNER LLC85 W                          AVEOWNER LLC85 W     Present
      County              188TH STBRONX, NY                         188TH STBRONX, NY
                          10468Note: Address on                     10468
                          deed is 1465A Flatbush
                          Ave, Brooklyn, NY
                          11210




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